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        EXHIBIT
           A
          Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 2 of 174
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                 Joshua Lapin, Pro Se Plaintiff
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                                                                                       DATE FILED: May 9, 2022
C                Sioux Falls SD 57103                                                  CASE NUMBER: 2022CV99
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            3                                                                            /,;."J r, D2022
                 Email: thehebrewhamrnl;'.Jjosh@gmail.com                             JEFFERso
            4                                                                            COLo~AiiuNry
                 Facsimile: (605) 305-3464
            5
                  5/3/2022
            6                                         COLORADO DISTRICT COURT
            7                                                 1ST JUDICIAL DISTRICT
            8                                      IN AND FOR JEFFERSON COUNTY
            9

           10    Joshua Lapin                                           ) Case No.:
                                                                        )
           11    Plaintiff,                                             )
                                                                        )
           12            vs.                                            ) COMPLAINT FOR DAMAGES
                                                                        )
           13    American Auto Shield, LLC                              ) 1) VIOLATIONS OF SOUTH DAKOTA
                                                                        )
           14    NRRM, LLC dba Carshield                                ) RESTRICTIONS ON UNSOLICITED
                                                                        )
           15    Flex Marketing Group, LLC                              )
                                                                          COMMERCIAL ELECTRONIC MAIL
                                                                        ) (57 counts)
           16    John Doe Sender                                        )
                                                                        )             (SDCL 37-24-41 et seq)
           17                                                           )
                                                                        )
           18    Defendant

           19

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           21                                                                         NO JURY DEMAND
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                                                                   COMPLAINT
;
         Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 3 of 174
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                                                              Complaint
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                 1.   COMES NOW Plaintiff Joshua Lapin, pro per, complaining against Defendants American
-           3
                Auto Shield, LLC ("AAS") and NRRM, LLC dba Carshield ("CarShield"), hereinafter referred to
            4
                collectively as ("Advertisers"), for advertising in 57 separate unsolicited commercial emails,
            5
                hereinafter ("UCE's"). Plaintiff also complains against Flex Marketing Group LLC, hereinafter
            6
            7   ("Flex"), for sending 34 of those UCE's, and against "John Doe Sender", an unknown person or

            8   business entity, for sending an additional 23 of those UCE's. All of these UCE's are alleged to

            9   violate the non-preempted portions of SDCL 37-24-41 et seq, hereinafter ("SD Anti-Spam Law").
           10
                Of these 57 UCE's, 23 were sent to Plaintiff's email address thehebrewhammerjosh@gmail.com,
           11
                hereinafter ("Hammer UCE's"), and are alleged to have been sent by John Doe Sender, and 34 were
           12
                sent to Plaintiff's email address "ketosoup97@gmail.com", hereinafter ("KetoSoup UCE's"), and
          13

           14   are alleged to have been sent by Flex Marketing Group LLC.

          15                                                  PARTIES
          16
                2.    Plaintiff Joshua Lapin, is and was at all times relevant herein, a citizen of the United States and
          17
                a legal resident of Sioux Falls, South Dakota, under the states "RESIDENCY AFFIDAVIT FOR
          18
                SOUTH DAKOTA RESIDENTS WHO TRAVEL AND DO NOT HAVE A RESIDENCE IN
          19

          20    ANOTHER STATE" program, which was designed to provide residency for perpetual travelers. A

          21    full-time traveling "digital nomad", who moves from place to place, generally internationally, in 30

          22    day cycles, without a permanent residence in or out of the United States, he qualified at all times
          23
                material for residency under the laws of South Dakota and maintains a "Personal Mail Box" as
          24
                required. He maintains a drivers license, voter registration, and Personal Mail Box (PMB) in Sioux
          25
                Falls, South Dakota, and all three documents list the PMB as his legal address.
          26

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                                                              COMPLAINT
;
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                 3.   Defendant American Auto Shield, ("AAS")as best known to Plaintiff, is and was at all times
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            2   material a Lakewood, Colorado headquartered Limited Liability Company, and it sells Vehicle
N

            3    Service Contracts. Per its website americanautoshield.com, it claims to specialize " ... in Vehicle

            4    Service Contract development and automotive claims administration," and proudly claims its
            5
                "team's combined industry expertise, complemented by our partnerships, allows us to develop and
            6
                deliver products that provide superior coverage and service."
            7
                As believed and alleged by Plaintiff, much of AAS's marketing is performed by a different entity,
            8
                CarShield. Carshield ambitiously markets and promotes [CarShield's] "Vehicle Service Contracts"
            9

           10   plans, which are actually administered by American Auto Shield. Therefore, in effect, CarShield i.s

           11   a de-facto marketing company who promotes AAS's Vehicle Service Contracts under the brand

           12   CarShield.
           13
                4.    Defendant NRRM dba Carshield ("CarShield"), as best known to Plaintiff, is a St. Peters, MO
           14
                Limited Liability Company. As described in the previous paragraph, it promotes Vehicle Service
           15
                contracts ambitiously, even doing promotions with Actor/Musician/Author "lce-T," on its website,
           16
                in television ads which Plaintiff has personally seen many times, so on and so fourth. As CarShield
           17

           18   itself does not administer these customer service contracts, it is best considered to be an advanced

           19   "Vehicle Service Contract" marketing company, who exclusively promotes the Vehicle Service

           20   contracts of American Auto Shield, at least in relation to the UCE's that Plaintiff received, and per
          21
                the clear language on Carshield's website. Exhibits of this "clear language", as well as a
           22
                demonstration of CarShield's "ambitious marketing efforts" vis-a-vis marketing material featuring
           23
                celebrity Ice-T, are shown on the next two pages:
          24

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                                                              COMPLAINT
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            1        4/30/2022                                                                     CarSJ1ie!d - USA's # 1 Auto flrntection Company

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           17
           18
                           Disclaimer: Preview contracts at CarShield.com. Coverage, deductibles, rental car benefits and
                       qualifying breakdown claims vary depending on vehicle age, mileage, preexisting conditions, and the
           19            prngram selected. CarShield markets vehicle service contracts administered by American Auto
                       S.bicl.\L 1597 Cole Blvd 11200, Lakewood, CO 80401: FLORIDA License number: W1·I1454. Parts of like
           20           kind and quality may be used including remanufactured parts. CarShield does not offer coverage in
                                       California. but may refer a licensed CA Mechanical 13reakdown Insurer.
           21                 CarShield & CarShield.com is not affiliated with any auto dealer or manufacturer. You will be
                          contacred by e-mail, phone, and/or text once we rece·ive your quote submission. Texas, Wisconsin,
           22             and Florida Residents: Contracts administered by American Auto Shield, 1S97 Cole Blvd #200,
                      Lakewood, CO 80401; Florida License #W1·I1454. Parts of like kind and quality may be used including
           23           rernanufactured parts, Vehicle names, logos, btands, & other trademarks featured or referred to
                            within CiirShield are prnperty of their respective trademark holders. P<.,wc>:,•d by: NRl!M:. I(,,..
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                                                                                             ACCESSIBILITY ASSISTANCE
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                     http;;:}{carshield .mm                                                                                                                                                               13!14
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                                                                                                           COMPLAINT
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            1         4/30/2022                               CarShit:ld li5A':;;_ #l Auto Piotcctkm Company
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                                                                  COMPLAINT
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                  5. With respect, and even some admiration for the entrepraneurialism exhibited by both American
             1
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             2 Auto Shield, and CarShield, and with continued respect and admiration for AAS and Carshield's
"'           3 successful marketing partnership, unfortunately this is not the first time that either of these
             4 companies have been in "hot water" for such marketing efforts ... SPECIFICALL Y as it relates to
             5 their advertising practices. The Better Business Bureau ("BBB") page for AAS has the following
             6
                  Current Alert For This Business" (CONTINUED NEXT PAGE)
             7
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            1         4/30/2022                                               Amttrican Auto Slw.cld, LLC I lktter Busm(!Vi 8Uf0iltJ-t' Profile

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            2            ...~
                         ,
                       BBB                                                  Better Business Bureau®
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                             «:   2,hare       B Ef:!.rtl
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                             (( Bm;iness Profile
            8
                             Business Profile
            9                                                                                                                                  1597 Cole Blvd Ste
                                               American Auto Shield,                                                                           200
           lO                i\w,•d,!ul        LLC                                                                                             Lakewood. CO
                                                                                                                                               80401-3418
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                                                                                                                                                1'1ttps://americ,,0tnautos
           12                                                                                                                                  l1ie!d.com

           13                                                                                                                           J (303) 420-7488's!
           14
           15
                             A CURRENT ALERTS FOR THIS BUSINESS
           16
                             Pattem of Complaint:
           17                On !v!ay 27, 2021., BBB found a paHE'rn fmn1 complaints and customer revievvs muarding Ame1\can Auto
                             ShlH!cfs ativertising. guarantee or wam:mtel:':, and/or customer serv1c11 issues. Consumers allege when
           18                signing up for coverage through WffHiors andfm se!ters of the Arnerican Auto Shield aqreement that they are
                             unav1are of the 1irn1tations ol the covc,frt{lfJ unHI they atternpt to utilize \he service, Consumers allege tl1cy arc
           19                required to cover expensive enq!ne ancllor lrnnsrnission teardowns and w:hicle rernals while the company
                             deterrnincrs coveraoe eligH1iH1y, a process sorne consw11nrs reporte1J takin(J long periods ot time. Consuffiers
                             also alle9e Hmt advtmit;1nq for these servk:t::s clairn broad covHra9e claims and ease of use while Arnencan
           20                r\uto Shield's ag1eernent inducie:; derailed e1:clusions that tue, uniy ciisclosed H the consun1(~r reads the
                             anreernent afte-r the sale.
           21
                             Additionally, BBB has Klentitieli concoms ,e9mding American Auto Shrolcfs re!ations!11p wi!h sellers of the
           22                agreements, Consumers appear UtknNare tt1ai other bustrmsses facilitate U1c sale wl1He Arnerfcan /\LHo
                             Sl1ield facilitates HH::' tenns of tt1e agieernenl and determim:::s conttact eligibHity.
           23
           24                American Auto Shield {AAS) Response;
                             AAS !rns taken 91oat pride in act1feving and maintaining our A+ ranng wnll 1l1e BBB t!1rouuh a nurnber of
                             irntiatives, most notably:
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                      ht1ps ;//www.bbb.org/us/rn{lakewood/profiletauto -service• co ntract-c ornpa n ies/a me ri can• au to• s,h iel d -l!c - 12 96, 34 000 7 B              1/6
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            1         4/30/2022                                                American Ai1t0 S!w.:~Jd, ll.C I Better BusiniJss Bwreau,,t Profile

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            2              o creatinr, and deiive1ing strong value fm the se1vfces that cwr contract l1o1ders purchase;
                           o our on-ooing pledge to deal with consurner inquirif!S in an ethica! and straightforward rnanner;
"
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            3
                           o Ctlltivming a previously stronq arrd collaborative relationship witli tt1e Denver 888;
                           o i:.rrovlding irnmmliate and comprehensive case managen1cmt and resµonsivenQSS to any anti alt BBB
                           cornplain1s received, including dedicated tedmfcaJ expei1s. vvho review every BBB complaint and case
            4              n.:1solutlo11 escalations for a!l such rnatters.

            5              AAS aore:ns that customer dant.y is essential to prnvidin9 best ln class service ancl for a fu!I understanciing of
                           t!'1e diifoH:nce between the SerHng entity ancl the r:wirn:y responsible for administering claims under tile
                           Vel1id0 Service; Contract While we believe that vvB have cle11r clisclosures in p!au3 to provide clarity
            6              regarding cm1t:irages. and contract holder requirements:, 1,r,.;e also acknmv!edge that additional steps can be
                           made to hc-;lp improve communication clariry. Betow are some examples of improvements lmplerne-nted to
            7              provide nreater da;ity anrj support Ior our custnmcw:

            8              o During any sales process, om Seiters dearly explain that contracts tVtH be adirnnistered by a separate
                           entity.
                           o AddiHonal!y, the sepaJate entity (namely 1\rnerlcan Auto Shield) is pmminentl}1 listed on aH contracts
            9              issued.
                           o Contracts are also immediately either mailed or fHnaitect to all contract holders.
           10              o We have added A.hS logos and language to consumer contracts, welcome letters, and emails from the
                           Selling enrity
           11              o Contract holders have: 30 days to H::view purchasHd conuacts. including coverages and exdusrons.
                           o It, in tile first 30 days, a contract holder determine:::::- tf1at the contrnci wiH not meet their nneds, the contract
                           will be cancelled fur a fuU refund if l'equ,~sll~d.
           12              o We !1ave vvof!<C';d with sellers to revise dis.dosures on TV ac.1s, radio ads, 1/lObs!tes, and in other marketing
                           materials.
           13              o T!1ere has boen a slgnlficant reduction in the requlrnment for 3rd party Inspections through our work with
                           repair !aci!rtles to facdi1ate their coHect\on af data and photos to verify failures.
           14              o We have establis!1eti autornateti foHow•ups for lnforrnation requests from repair facilities and contract
                           hokiers if not received within 3 days frorn orig111al request.
                           o We 11ave increased fnst can dalm autllorizations to an average 37% of claims repmted,
           15              o siw1llica11t impmvements r1avi? Dene imp!em~m1ed in adjuste1· t!aining and tools to address common
                           faifures and 1heir resolutions for rno:st complicatecl cn1gino and transmission fa:ilurns. theraby avoiti1no tho
           16              neecl tor tcardowns.

           17
                           ReadJess
           18
                                Contact Information
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                                       1597 Cole Blvd Ste ~~00
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                                       Lakewood, CO 80401··3<118
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                                J (303) 420 74881!
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                  Similarly, the theme is continued when we take a look at the BBB page for AAS's marketing
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             2 partner, co-defendant, and alleged co-tortfeasor CarShield:
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             5         4[30/2022


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                                                                          Better Business Bureau(ij)
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                            (( Business Proflle
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                           Business Profile

            14
                                                CarShield                                                                                   503 Pearl Dr
                                                                                                                                            Saint Peters. MO
                            Accredited
                                                                                                                                            63376-1071
            15
                                                                                                                                     0 http://swm_CarSl1iel
            16                                                                                                                              g.com

            17                                                                                                                       J (636) 075-1227'•!
            18

            19
                           A CURRENT ALERTS FOR THIS BUSINESS
            20
                           Pattern of Complaint:
            21             BBB aciv1ses consrnners to use caumm ri' considerin!J doing business with CarSh1eld, a vehidc service contract
                           company. f38B received n paiiem ol cons:mner comp{aints a11eq1no !he co1T1pany·
            22
                                " Ernp!oyed nw;l(-;ad1nt;1 s,,!es tJnd <ldverti!;mg praclrces, im::1ud:'ng TV advert,seme:nis sL0ting consmm:rs wiH not
                                  !le respnns1ble for cxpensivt n::pai,s and c.an i:ake 01en vel'1iclt➔ io any repair faciiity which constmiers lountl \-VDS
            23
                                    not to be true
                                «   Fm!ecJ Jo cover repairs
            24                  * Fm!ec! to acJequatuly explain mi!edf)e nrni time component before covemne t½:qin;:;
                                * Did not cancel 1h(iir poltci<+s and prnvkk1 refunds
            25                  " Delayed iakmg and pmcessinn dalms h:--avino cusiorners wnhou! their vellides
                                ~ Una!J!e to f111tj an auH10ri2ed repa\r shop

            26                  $ Pmvic!ed porn cu:;mrncr 92rvice

                           In April and Decernbnr 2020, BBB contacte{J Ca1S!\ieh.:J rn9anJ;n9 how it planned to O:Cl{l!css onqrn'nq patterns of
            27             comp!rnnts. Ttie -company :;ta!ed. "CnrShinld v1orks ilmd itt provide e>;ce!lem custorner service to al! con::;umers v;e
                           encounter and 10 tn".!fll the decnands ancl s1,;rndards set fwth by the 88B ··
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                       httr,s:j/www.bbb.org/us:/mo/samt •pete:rs/p rcfiit:/ auto• serv in:H:ontrnct < ompa n 1es/c a rshi'eld. O7 34 ,31O03(}296               l/7
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            1         4/30/2022                                                                   C<lr5hiekl ! Bette, Business 8ureau<S Profile

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            2                 ADDITIONAL BUSINESS INFORM/,T!ON
7
~
            3                 Advertising Review:

                              In Apnl 2020. Bette, Business Bureau Cllallenged a CarShielc1 mailer. BBB lielievf,S tile
            4                 mailer creates a false sense of urgency by· stating:
            5                      •    '"lU:'.SPON'SE TO TiilS NO'ffCE REQCl2STHV"
                                   "" •·tMY.IEDJATE RESPONSE REQtJESTED"
            6                      •    ''llt'!.pond By: 8/J/2'019"
                                   •    "'Ou, J't'tord;. indita{t• 1hat yuu h,1n• tW! n-mt,;1if&d tt;; h'; h,n·r \·nur \'l"hith• ;.trvkt• nmtr.Ht ,1(flV<Ht'1..L \\'e Mt' iufonulllg
            7                           you !hat if your f,Ktol)' ,\·ananty h&Sf.'xp[n:d, you wm bt' n·spom.!hk !or paying any n:pa1-r5. Hft-.•N~vei-, it expired, Vf1U ,.;n
                                        ,;til! ,ldivah• ;i servicl' (UUlr,'l('t on ynur veh!dt· b-don: i!'i;, hl-0 l,U<'."

            8                      •    "St!MMARY OF TERMS"
                                   •
            9                 BBB also questioned CarShield's television commercials whicll state:

           10                      * "CarShldd ls Anlt'-dca's !tt Aulo Prt1ll't':ti£Hl Company!"
                                   ., '"Ovn· 01l\' Billian 111 Amo Hqrnir Bill;, P,1id"
           11                      •    "ROADSIDE ASSISTANCE TO\'VING RENTAL COVERA<>E :"-0 AIHHTIONAL COST"
                                   " "lO\\iING ROADS!l}E ASSlTANCE RENTAL CAR"
           12                      $    '"'llwn; ;:uv i'Vt'O pl,lit:\. I hilt will p<ly for your n.'111,d t',)f,"
                                   * "St'f Cootr.u-1 for RM1ral Cu· dlglbili1y."
           13                      t>   ''Hcn!at Car Some Re~ll'ittions Apply"


                                   •
           14
                              According to BBB Code of Advert,s,nq, .. The prnnary responsillrlrty for tmthful and 11011-
           15                 (leceptive advert1smg rests with the advenrser. Advertisers sl1oulcl be prepared to substantiate
                              any ob1ect1ve claims or offers made befme puillication or liroadcast. Upon request, tlley
           16                 should present such substlmtralion promptly m the ar.lvert1sing medium or BBB.
                              Advertisements wl1ich are untrrm, misleading, deceptive. flaudulent. falsely disparaging of
           17                 competitors, or insincere ofiers to sell, shall not be used. An ac.1vertisernen1 as a whole may be
                              misleadmg hy rmplicat,on, althougl, every sc:nrence separately cm1s1tferetl may lie literally
           18                 true. Mrsrep,esematron may result not only t.om direct statements, but by omittmg a,
                              olir;curino a material tact. In addition. according to tile Missouri state statute 15 CSR 60-7.020
                              (l): "A seller shall not make a representation or statement of fact in an advertisement that is
           19                 false or Ms tile capacity to mislead prospective purchasers:·

           20                 In add1t1on, according to BBB Cocle of Aciv<.,11is111y, ·'Supeilative statements 11l ativert1se1nents
                              aliout tho ta11g11Jle qualities and pe1to1ma11ce values of a product or service otiject,ve aie
           21                 olijectivc, claims !or wl11ch tl1e advertise, must possess substantiallon as they can be based
                              upon accepted standards or tests. As staternents of fact, such cfaims, 0ke 1;1 ln new car
           22                 sales rn tho city:· can be proved or disproved.

                                   a.    E\/H-:-r.:,bi\s ui opks]nn nr p<.':,mnl l'\',1.hurion ot (!l(' inr,wgil!k qu,!litit•:; uf a prodm:t m ,:,,,fl'in• ;o,, lil,dy tn lw <rm~ldPH\t
           23
                                        pufkry. Sudi ct;iims MP rnit i;>1bi~.:t w tfw :c·sr ()f \luth ,rnd ;;;nu¥y .1ml ,1:,1-ul<! n,n\ w,:s,.! st1hst;Jmi,11ion.

           24                      b. -Pnlf<.,y mny '"'""''' unwnwnn ,nh .h •·inn fn,,J in dw nmld" ,,nl •·ne ny h.rnk•(" "' nd!"' "''"'' """"'"''' ""'"'""'·
                                        i,1awnwnh <)( UI1f'nA:\l(,· [)iit'k. x,;;ggrrZ<L(nh, bl11\teri11g_ ,1(td bo-:htlng S!iih'lf!('/\IS !lf!!iH \\!Jkh /Hi ll',Y()!l,1bk bi.ivf·l \'iOllid i:re
                                        jn~iifi(•d in rdyiog. f!dfo1y ,1ho bdllll<'\ µc•i:N,l! d:tillh ol Mqw,bdt) tNi:'f rmnp,1rc1h!v pr,ldu, I:, tbs,: ,Hl.' t,,:i v.1gtw 1h,1t it c1n br
           25                           1md(•l'\i00d :1\ t1G11ling rno1<: dv,n ;i mh-e ,;\pn•~drm oi npfninf\
                      https :i/www.btlb.org/us/mo/suint •pct,r:rsJpr ofi1cfauto •se rvin:c• contrac t-comp;:mies{c arshk>!d. O7 34 . 3100 3O296
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         Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 12 of 174
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                                                                              CHShie!d ! Getter Business Bureau{§, ProfHe
            1         4/30/2022

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            2                Ultimately, whether any particular statement or claim is puffery will depend upon the context in
                             wl1ich it is used in the advertisement.
0
            3                Some of these concerns were brought to t!ie company's attention previously in 2018. At lilat
                             time, CarShield responclecl tl,at it would make one modification. BBB re-contncted the
            4                company regarding ongoin(J concerns !Jut ,lid not rnce,ve a reply.

            5                In !ts rnost recent corresponcience BBB aske:tJ CarSt1ie!d to provic1e substantiation to the
                             c!afms made in its mailer and television ads or make rnodifications to provide greater clarity
            6                tor consumers. Alth0ugl1 the company responded to BBB, it tailecl to actdress BBB concerns
                             brought to its attention.
            7
                             Read less
            8
                             See all additional l)usir1l@s infoimation
            9
           10
           11                 Contact Information

           12                        503 Peail Dr
                                     Saint Peters, MO 63376-1071
           13
                              0 http://www.Ca1Shield.com_
           14
                              J (f,36) 875-1227<!
           15
           16
           17                 BBB Rating & Accreditation

           18

           19
                                  F
                              THIS BUSlf\lESS IS 1\JOT 8!38 ACCHED!TFD
           20
           21                     .S~CC!.fl~it
                                  i3usinesses in lbhiJ;flt!;!gfttY
           22
                              Years in Business: 17
           23
                              Customer Reviews am m11 us,;cl in 11i,: cnlcula1icm rt! BBB Ratmg
           24                 Re..as9n~~Jor BBB F~aJinq

           25
                      t1l1psJ/www.bhh.org/us/mo/saint-peterc;;nrofi1~/i.>Uto-service-contract-companies/car,;h10!d-0734-3100J0296   3/7
           26
           27
           28
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                                                                                  COMPLAJNT
         Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 13 of 174
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                 6. John Doe Sender is a person or entity of currently unknown organization. They are alleged to
            1
w

~                have been hired/ contracted by CarShield to assist in marketing, and one of the results of this third-
            2
-           3    party marketing is that John Doe Sender sent these [allegedly] unlawful UCE's which Advertise the

            4    Vehicle Service Contracts of CarShield and AAS. John Doe Sender is only alleged to have sent the

            5
                 Hammer UCE's, and not the KetoSoup UCE's. In many of the Hammer UCE's, the address "8595
            6
                 Pelham Rd,,546,Greenville,South Carolina,29615, appears in the bottom, alongside the following
            7
                 text: "if you do not wish to continue receiving emails newsletters from us CLICK HERE
            8
                 or send post-mail To 8595 Pelham Rd,,546,GreenviUe,South Carolina,29615." Plaintiff has
            9

           10    observed this address in many, many UCE's, including those unrelated to CarShield / AAS, and has

           11    a valid interested in identifying John Doe, who has become "closely intertwined" with this address

           12    in Plaintiff's perception of the matter.
           13
                 7. Flex Marketing Group LLC, ("Flex"), has been known to Plaintiff as John Doe "DLZ Offers"
           14
                 AND John Doe "RumorFox" for several months ... up until several weeks ago ... throughout most of
           15
                 Plaintiff's multi-month effort to unveil this "DOE" in connection with their UCE's associated with
           16
                 CarShield / AAS as well as many other ("Advertisers") whom are not complained of in THIS
           17

           18    complaint. This effort ultimately prevailed, and "Doe is Doe no more", as Plaintiff likes to say in

           19    his UCE investigations. ("Advertisers"), as used in this paragraph and hereinafter, is used as

           20    defined by SDCL 37-24-41(1): A person or entity that advertises through the use of commercial e-
           21
                 mail advertisements." Flex, however, is alleged to be an ("Initiator"), not a ("Sender") as defined in
           22
                 the same section. Flex utilizes many domains, hereinafter ("Flex Domains") for its marketing
           23
                 efforts. Some of the Flex Domains are registered by proxy, and many are registered with fictitious
           24
                 information, such as using unregistered trade names and unregistered dba's as tl1e "registrant" in the
           25

           26    whois data, such data being "useless" in the identification of the registrant who owns the domain in

           27    question.
           28
                                                                 12
                                                              COMPLAINT
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                8.Not all the flex domains host websites, but of those that do host websites, the "terms and
            1
0

            2   conditions" and the "privacy policy" specifically omit any names of any real people or companies,
N

            3 and use addresses owned by Earth Class Mail, a virtual mail service, such as PO Box 4668 #85919,
            4    New York, NY 10163-4668, and PO Box 10188-85919 Newark, New Jersey 07101. Some of these
            5   domains are used by Flex to send "marketing emails," which are known and understood to Plaintiff
            6
                as UCE's. All of these proxy-or-falsely registered domains associated with Flex are listed below,
            7
                with the 'sending domains' in bold: BuzzBarrelReview.com, dzlosurverys.com, emails-
            8
                jobsdelivered.com, Entirelybelieve.com, JobsDeliver.com, expectcarecare.com,
            9

           lO    J obSharkNL.com, N ationalShopperSurvey .com,

           11   NationalSurveysOnline.com,exigentmediagroup.com, enrichedtechnologies.com,

           12   ConsumerDigitalSurvey.com, drivingmarketinggroup.com, surveyandgetpaid.com,
           13
                turnmyheadmediagroup.com,thebestcreditcheck.com, thefreetree.co, dlzoffers.com,
           14
                nationaldigitalsurvey.com, dealzingo.com. They also utilize two PO Boxes: PO Box 4668 #85919.
           15
                 New York, NY 10163-4668 AND PO Box 10188-85919 Newark, New Jersey, which appear at the
           16
                bottom of most of the UCE's, but which are not "traceable" to the sender. The purpose of including
           17

           l8   domains not used in the sending of UCE's material to this complaint is to strengthen the case of

           19   Flex's extraordinary lengths to conceal its true self in its marketing efforts, including but not limited

           20   to the procurement and sending of the UCE's of which plaintiff complains. Flex Marketing Group
           21
                is ONLY alleged to have sent the KetoSoup UCE's, and is not alleged to have any involvement
           22
                with the Hammer UCE's.
           23

           24

           25

           26

           27

           28
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                                                              COMPLAINT
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            1
                                                                FACTS
~



            ~
            ~




w
            3 Description of the Advertised product(s) and service(s) in the UCE's:
            4
                 9. Each of the UCE's purport to offer Carshield's Vehicle Service Contracts [which are actually
            5
                 AAS's Vehicle Service Contracts]. Preservations of all of the UCE's received at plaintiff's email
            6
                 address thehebrewhammerjosh@gmail.com, aka the ("Hammer UCE's"), which are alleged to have
            7

            8    been sent by John Doe Sender, are displayed in Exhibit A, attached hereto. Similarly, preservations

            9    of all the UCE's received at plaintiff's email address ketosoup97@gmail.com, aka the ("KetoSoup

           10    UCE's"), which are alleged to have been sent by Flex Marketing Group LLC, are displayed in
           11
                 Exhibit B, attached hereto. In the lengthy exhibits, Plaintiff warrants that he put fourth his best
           12
                 effort to manage, organize, and display the UCE's. However, in the event that there are unintended
           13
                 errors, duplicates, or omissions of the UCE's, Plaintiff can remedy any such error(s), upon being
           14
                 granted leave to amend. Nonetheless Plaintiff warrants his good-faith effort to capture and illustrate
           15
           16    the UCE's which are the subject of this complaint, and further he warrants the effort in putting

           17    together those photos of the same.

           18

           19
                 Sending Domains Of The UCE's
           20
                 10. Upon information and belief, the Hammer UCE's all have various 'from domains,' which are all
           21
                 untraceable by a whois search. These domains will be referred to hereinafter as ("Hammer
           22
                 domains"). Those from domains, with the whole 'from line' included for context, appears as
           23
           24    follows:

           25
           26    *CarShield Offer* <Wp1.1U75i3yUfV\/tiLJCk_[VlhDYk@sJ5jfeL12.iJJi'1go.c:om>
           27    CarShield Auto Protection <ret1.1m,.;lt.8.1.Q'l_QS320(§>'31c1nknil.Ve,,;om>
           28
                                                                  14
                                                               COMPLAINT
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            1 CarShield Auto Protection <t·eturn.#17968780S@alanknave.corn>
0
              *CarShield USA* <Le.tu1JLtt2170927'.>2@i3lltih<1n.co1T\ >
            2
N               *CarShield USA* <return. #292063750@antihan.com>
"           3
                *CarShield USA* <1·et·urn.#201187669@antilrnn.corn>
            4
            5    *CarShield Offer* <3fWmlb7nzeliiQhhmwk(sj)wawfun.spromsanleo.corn>
            6
            7
                 *CarShield Offer* <btaga2TKMEzSNiPUsMcfD@pillago.com>
            8

            9    *CarShield Offer* <SxHNCl7mODpJ<WM66NYl@joshtu.pseptheala.com>

           lO

           11
                 *CarShield Offer* <lsehAozYWIPg22oZz5Uig@spromsanleo.com>
           12
           l3
                 *CarShield Offer* < Nf2xM L7fL5GLcoQu8P@fizes. pi IIago.com>
           14
           15
           16    *CarShield Offer* <M9YTueV\/8POOS3C91LO@skifer.pillago.com>

           17
           18    *CarShield Offer* <cu7GhllC7VOvlD07kW7@fcre.tristphas.com>
           19
           20    *CarShieh:I Offer* <ARkjvdOAu0lgeDJxl.5@betsec.inceredible.com>
           21
           22
                 *CarShield Offer* <Qvu8rdDld0aUMca42@burle.saraction.con1>
           23    *CarShield Offer* <N2qjX6OfckGe.L0vvY7 a@sii_dd .i_nat1·focJuce .CQJ11 >

           24
                 *CarShield Offer* <DOJ4r·hfq6wNwoAvdr@spromsanleo.com>
           25
           26
           27
           28
                                                                15
                                                             COMPLAINT
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        1    *CarShield Offer* <vfYbDVpD22rQsENTxC@spromsanleo.com>
        2

        3

        4     *CarShield Offer* <lr0WaDwvR88w70O3                     1J5@spromsanleo.com>

        5

        6 *CarShield Auto Protection* <i
        7

        8 *CarShield Auto Protection* <info.                  F7XO@a1·tintegraterea               >
        9

       10    *CarShield Auto Protection* <info.jgODul@artintegraterea                              >
       11

       12
       13    In summaiy, the 'unique' sending domains for the Hammer UCE's, the ("Hammer Domains") are:

       14    alanknave.com, antihan.com, spromsanlco.com, pillago.com, artintegraterealty.com,

       15    inatrfoduce.com, inceredible.com, saraction.com, tristphas.com. From hereonout, these will be
       16
             referred to as the "Hammer Domains," and all of the Hammer Domains are alleged to have been
       17
             utilized by John Doe sender to send the Hammer UCE's.
       18
             11. Upon information and belief, all of the KetoSoup UCE's were sent by Flex Marketing Group
       19
             LLC under some/all the following domains ("Flex Domains") appearing in the "FROM" line of the
       20

       21    emails: delivered@emails-jobsdelivered.com, info@jobsharknl.com,

       22    updates@nationalsurveysonline.com, contact@nationalshoppersurvey.com,

       23    updates@huzzbarrelreview.com, updates@expectcarecare.com, newsletter(a)rumorfox.com.
       24

       25
       26
             WHOIS Data for the Sending Domains Described in Paragraphs 10 and 11
       27

       28
                                                            16
                                                         COMPLAINT
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                 12. Whois data for the Hammer Domains appear as follows:
            1
~



            2         5/1/2022                                                 SarActmn,rnm VJHO!S, DNS. & Domain info. Domain Tools

~                         Website Title
            3
                           Server Type                   A1:,.1cht:/2.A.6 {Ce-ntOS) OpenSSL/1.0.2k·fips PHP/S,4.:l6
            4              Response Code                 200

            5              'ferms                        11 (Uniqu,;:: 10, Unked: 0)

                                                         O (/..,It tz;gs missing; O)
            6

            7            Whois Record ( last updated on 202:,H)4-SO)

            8               Domain Name: saraction.com
                            Registry Domain ID: 2554867040_OOHAIH_COl'I-VRSH
            9               Registrar WHOIS Server: whois.r~gister.com
                            Registrar URL: http://www.register.com
                            Updated Date: 2021-08-24T09:42:18Z
           10               Creation Date: 2020-08-19189:34:582
                            Registrar Registration Expiration Date: 2822-08-19T89:34:58Z
                            Registrar: Register.com, Inc.
           11               Registrar IANA ID: 9
                            Resel lee
           12               Domain Status: clientTransferProhibited http://icann.org/epp#clientTransferProhi
                            bited
                            Registry Registrant IO:
           13               Registrant Name: Karisa Oma.ltey
                            Registrant Organization:
                            Registrant Street: 449 Wi11chester
           14               Registrant City: Street Palatine
                            Registrant State/Province: IL
           15               Registrant Postal Code: 60067
                            Registrant Country: US
                            Registrant Phone: +1.5612876502
           16               Registrant Phone Ext:
                            Regis, t rant fax:
                            Registrant fax Ext:
           17               Registrant Email ; araHh;;nnz;i:Jt)@;i;;m;:-,nxorn.
                            Registry Admin ID:
           18               Admin Name: Karisa Omalley
                            Admin Organization:
                            Admin Street: 440 Winchester
           19               Admin City: Street Palatine
                            Admin State/Province: IL
                            Admin Postal Code: 60067
           20               Admin Countr·y: US
                            Admin Phone: +l.5612076502
           21               Admin Phone Ext:
                            Ad min !'ax;
                            Adm1n Fax Ext:
           22               Adm in Email: :w~tlihan,za50@l9nt2!d com
                            Registfy Tech IO:
           23               Tech Name: Karisa Omalley
                            Tech Organization:
                            Tech Street: 440 Winchester
           24               Tech City: Street Palatine
                            Tech State/Province: IL
                            Tech Postal Code: 68067
           25               Tech Country: US
                            Tech Phone: +1.5612876502
           26               Tech Phone Ext:
                            Tech fax:
                      https ;/fwhois. d 0rn,1into0ls. com!s a I act 10n. com                                                           2! 5.
           27
                            Name Server: dnsl.register.com
           28               Name Server: dns2.register.com
                            ONSSEC: Unsigned
                            Registrar Abuse Cont act t:mai l:                          dtw1,rn1 opei;,;t,0ns:@v.--0b ccim

                      https.:{!whois.doma-intDo!s.tom!tristp!1as..com                                                                  2/4
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                                                                                !nc£rEclibtesorn \NHOJS, ONS, & Domain !nfo • D◊1n0inTnok;
            1         5!1/2022

~
                          Response Code               500
            2
N
                         Whols Record { las.t updated on 2022·04-30
            3
                           Domain nome: inceredible.com
            4              Registr"y Domain 1D: 261'.l289592_DOMAIN_COM-VRSN
                           Registrar WHOIS Server: whais.namecheap.com
                           Registrar URL: http://1t1Ww.namecheap.com
            5              Updated Uate: 0001-01 OlTO(l:O(l:00.00Z
                           Creation Date: 2021-B5-19TBD:ll:33.8BZ
                           Registrar Registration Expiration Oate: 2022-05-19T09:16:33.00Z
            6              R<!gistrar: NAMECHEAP JN(
                           Registrar IANA ID: 1068
            7              RegistnH Abuse Contact Email: alms8@n;am0t-J1@&p.com
                           Registrar Abuse Contact Phone: +1.9354014545
                           Reseller: NAMECHEAP INC
            8              Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProh
                           ibited
            9              Domain Status: addPeriod https://icann.org/epp#addPeriod
                           Registry Registrant IO:
                           Registrant Name: Leta Fails
           10              Registrant Organization:
                           Registrant Street: 8648 West Selby Road
                           Registrant City: lN
           11              Registrant State/Province: TN
                           Registrant Postal Code: 38024
                           Registrant Country: US
           12              Registrant Phone: +1.2399881283
                           Registrant Phone Ext:
           13              Registrant fax:
                           Registrant fax Ext:
                           Registrant Email: (1ns--l;;C11@'.-efr0ny3'.;om
           14              Registry Admin ID:
                           Admin Name: Leta fails
           15              Adm.in Organization:
                           Admin Street: 8648 West Selby Rood
                           Ad min City: TN
           16              Admin State/Province: TN
                           Admin Postal Code: 38024
                           Admin Country: US
           17              Admin Phone: ~1.2399081283
                           Admin Phone Ext:
           18              Admin Fax:
                           Admin fax Ext:
                           Adm in Email; (J11sH0ch@lt~ton:i: UJti'l
           19              Registry Tech ID:
                           Tech Name: Leta Fails
           20              Tech Organization:
                           Tech Street: 8648 West Se1by Road
                           Tech City: lN
           21              Tech State/Province: TN
                           Tech Postal Code: 38024
                           Tech Country: US
           22              Tech Phone: +1.2399881203
                           Tech Phone E:d:
           23              Tech fax:
                           TC!Ch fax Ext:
                           Tech Email:           di t•tec.?v@lfd':rony c,:,rn
           24              Name Server: dnsl.registrar-servers.com
                           Name Server: dns2.registrar-servers.com
           25              DNSS.EC: unsigned
                      https://\'>1hois,domaintno!s r.:ornJin<:HediDle,com                                                                    2!4
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           27
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            1         5/1/2022                                                    ln.atRfOOuce.mrn WHO!S. ONS. & Domain lr,fc,, Dom,,inTools

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0
                                                               :-intatotion.com
            2
                           Server Typ:e                  Apache/2A.6 (CentOS) Open$5l/1.0.2k,fips PHP/SA.16
~
            3              Response Code                 200
                                                          11 (Unique: 10, linked: 0)
            4
                                                         O {Alt tags missing: O)
            5              links.                        4 {Internal: 4. Outbound: 0)

            6
            7               Domain nam~: inat rfoduce. com
                            Registry Oomoin IO: 2!ll1590588_01ll!Arl<_COM-VRSN
                            Registrar WHOIS Server: whois:.riamecheap.com
            8               Registrar URL:     ;//www.
                            Updated Date:                                          : OB: OB.
            9               Creation Date: 2B21-B5-12Tll:35:16.BBZ
                            Registrar Registration Expiration Date: 2022-05-12T11:35:16.00Z
                            Reg is t rar: NAME CHEAP INC
           lO               Registrar IANJ\ ID: 1068
                            Registrar Abuse Contact Email:                               almse@nzHn.f1c.heJpc.om
           11               Registrar Abuse Contact Pl1one: +l.9854814545
                            Reseller: NAMECHEAP                    me
                            Domain Status: clientTransterProhibited https://icann.org/epp#clientTransferProh
           12               ibited
                            Domain Status: addPeriod https://icann.org/epp#addPeriod
                            Registry Registrant ID:
           13               Registrant Name: Eldridge
                            Registrant Organization:
           14               Registrant Street: 4829 Washington Avenue
                            Registrant        : Jackson
                            Registrant        e/Province: MS
           15               Registrant Postal Cade: 39213
                            Registrant Country: US
                            Registrant Phone: +1.9339808789
           16               Registrant Phone Ext:
                            Registrant Fax:
           17               Registrant Fax Ext:
                            Reg i St rant Email : M1;,H)ijdk~1t 'J5,z'{i:13r-,,;;11Lctml
                            Registry Admin ID:
           18               Admin Name: Eldridge Engels
                            Admin Organization:
                            Admin Street: 4829 Washington Avenue
           19               Admin City: Jackson
                            Admin State/Province: HS
           20               Admin Postal Code: 39213
                            Adm in Country: US
                            Admin Phone: +1.9339808789
           21               Admin Phone Ext:
                            Admin Fax:
                            Admin Fax Ext:
           22               Adm in Email: hhadt;;i:ka71S@)!JfftiH! com
                            Registry Tech ID:
           23               Tech Name: Eldridge Engels
                            Tech Oraanization:
                            Tech St~eet: 4029 Washington Avenue
           24               Tech City: Jackson
                            Tech State/Province: MS
           25               Tech Postal Code: 39213
                      httµs :/twhois. d orr«1 int cols. comJ1 narrtod uc e. com                                                                2/5
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            1         5/1/2022                                    Anirikgr.:neRe;,'llty.rnm WHO!$, DNS, & Domain Info • OomainTools

w                        Website Title                   antatotion.com
            2
                         Server Type
w
            3             Response Corle:          200

                         Terms                     11 (Unique: 10, linked: O}
            4
                          Images                   O (Alt tags mlsslt1g; O}
            5             Links                    4   (Internal: 4, Outbound: Of

            6            Whois Record ( kist updated on 2022-04<30 j

            7             Domain name: artintegraterealty.com
                          Registry Oomain IO: 2611869223 __ 00MAIN...(OM- VRSN
                          Registrar wmns Server: whois.namecheap.com
            8             Registrar URL: http://www.namecheap.com
                          Updated Date: BBBl-Ol-OIT00:00:00.BOZ
            9             Creation Date: ZB21-05-13T!5:38:08.00Z
                          Registrar Registration Expiration Date: 2022-05-13Tl5:38:88.98Z
                          Registrar: NAME CHEAP INC
           10             Registrar IANA ID: 1068
                          Registrar Abuse Contact Email:                      abus,;,@n.,m,ec.heJp com
           11             Registrar Abuse Contact Phone: +1.9854014545
                          Reseller: NAMECHEAP INC
                          Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProh
           12             ibited
                          Domain Status: addPeriod https://icann.org/epp#addPeriod
                          Registry Registrant ID:
           13             Registrant Name: Eldridge Engels
                          Registrant Organ.ization:
           14             Registrant Street: 4029 Washington Avenue
                          Registr·ant City: Jackson
                          Registrant State/Province: MS
           15             He9istrant Postal Code: 39213
                          Registrant Country: US
                          Registrant Phone: +1.9339808789
           16             Regis t r·ant Phone Ext:
                          Registrant fax:
                          Registrant Fax Ext:
           17             Registrant Email: k!iad1iarca/t~,:{j0} 1nc:iilcom
                          Registry Admin ID:
           18             Admin Name: Eldridge Engels
                          Admin Organization:
                          Admin Street: 4829 Washington Avenue
           19             Admin City: Jackson
                          Admin State/Province: MS
           20             Admin Postal Code; 39213
                          Admin Countrv: US
                          Admin Phone:·+1.9339898789
           21             Admin Phone Ext:
                          Admin Fax:
                           Adrtli.n Fax Ext:
           22              Adm in Email: hhad;p\ka7/5:)3~~;;m:1;l c,:im
                           Registry Tech ID:
           23              Tech Name: Eldridge Engels
                           Tech Organization:
                           Tech Street: 4029 Washington Avenue
           24              Tech       Jackson
                           T<~Ch              rn,,,,,rn, MS
           25              Tech               Code: 39213

                      https://whois.donnintools.corn/,1rtint0groternaltycom                                                           2/S
           26
           27
           28
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                                                                                  COMPLAINT
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                      '.iil/2022                                      PillAgo.<.:om V.'MO!S, DNS, ti, Domoin Info• DomainTools
            1
0

            2
0

            3
            4
                         Home > Who!s Lookup :~ Pil!Ago.corn
            5
            6             Whois Record for PillAgo.com
            7             Domain Available

            8
                             pillago.com is for sale!
            9                      don1<.1l11 you are


           10                                                                   Buy pilfago.com


           11            - Domain Profile

                           Domain Status           Deleted And Available Again
           12
                           IP Hl,tory              27 changes on 27 unique IP addr"esses over 16 years                           ,..
           13              Registrar History       2 registrars with 1 drop                                                      ,..
           14              Hosting History         12 thanges on 7 unique name servers over 14 years                             ,...
                         -Website
           15
                           Website Title
           16
                          Whols Record
           17
                                    Whois Record Not Available
           18                A      This dornaln is not registered.

           19
           20
           21
           22
           23             Tools

                                                                                 Hosting Histo1y
           24
                           MoniIOr Dom;,fn Properties.

           25                                                                   Buy This Doma!n

                      https://whois.domalntoob;_com,lpillago.com                                                                        1!2
           26
           27
           28
                                                                                        21
                                                                                COMPLAINT
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            1         !i!l/'2022                                     SPrnmsAnLeo.com WHOIS, DNS, & Domain lnfo , Domai11Toots.

~



            2
-           3
            4
                         Horne > Whols t.ookup ;,, 5f.tromsAnLeo,com
            5
            6             Whols Record for SPromsAnLeo.com
             7           - Dom<1in Profile

                           Registrar               Reg:isteu;orn. Inc
            8                                      IANA !O: ··
                                                   URL:
            9                                      Whois Server: .-

                           Registrar Status
           10
                           Tech Contact
           11              Domain Status           Deleted And Available Again

           12              IP H!stoty              3 changes on 3 unique IP addresses over 1 yea ts

                           Registrar History       1 regfstrar
           13
                           Hosting History         3 changes on 3 unique name servers over 1 year

           14
                         -Website
           15              Website Title           None given.


           16             Whols Record ( last updated on 202:20430 l


           17
                                   Warning-Incomplete Record
           18                A     We believe this clorn.a!n ex1sts, but we a.re getting incomplete data from the Whois server.

           19
           20               No match for "SPROMSANLEO.CON".

           21
           22
           23
           24
                          Tools
           25
                      http.s://who1s.dom,;-intoo!s r.om/spromsanleo.com                                                           l/3
           26
           27
           28
                                                                                        22
                                                                                 COMPLAINT
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            1         5/1/2022                                           AntihAn.com WHOlS. ONS. & Dormiin Info,. Dorm1inTools
w
0
                                                   nginx
            2
                                                   200
~
            3             Terms                    24 (Unique: 23. Unked: O)

                          Images                   O {Alt tags missing: O}
            4
                          Unks                     0   (Internal: 0, Outbound: 0)
            5
                         Whois Record ( last updated on 2022-04-30 )
            6
                           Oomaifi name: antihan.com
                           Registry Domain ID: 2615809424_00MAIN_(OM- VRSN
            7              Regts.trar WHOIS Server: Hhois.namecheap.com
                           Registrar URL: http://www.namecheap.com
            8              Updated Date: 0001-01-0lT00:00:00.002
                           Creation Date: 2021-05-29116:24:10.00Z
                           Registrar Registration Expiration Date: 2022-85-29Tl6:24:10.0GZ
            9              Registrar: NAMECHl'AP INC
                           Registrar IANA ID: 1068
                           Registrar Abuse Contact Email:                     al)us.;e@namBctH:ap corn
           10              Registrar Abuse Contact Phone: +1.9854014545
                           Reseller: NAMECHEAP INC
           ll              Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProh
                           ibited
                           Domain Status: addPeriod https://icann.org/epp#addPeriod
           12              Registry           rant ID:
                           Registrant         : Angela Mitchell
                           Registrant Organization:
           13              Registrant Street: 7899 Taylor
                           Registran1 City: LA
           14              Registrant State/Province: LA
                           Registrant Postal Code: 70806
                           Registrant Country: US
           15              Registrant Phone: +1.3146314948
                           Registrant Phone Ext:
                           Registrant fax:
           16              Registrant Fax Ext:
                           Regist ra.nt E:mai l: fb!@v0ush20ns1rn com
           17              Regist     Admin 1D:
                           Admin       : Angela Mitchell
                           Admin Organization:
           18              Admin St~eet: 7899 Taylor
                           Admin       : LA
           19              Admin rate,, n-ovince: LA
                           Admin Postal Code: 70806
                           Admin Country: US
           20              Admin Phone: •l.3146314948
                           Admin Phone Ext
                           Admin Fax:
           21              Admin fax Ext:
                           Ad min Email:        lb!(§vm1sif2'.f:instra com
           22              Registry Tech 10:
                           Tech Name:          Mitchell
                           Tech Organi   .ion:
           23              Tech Street: 7899 Taylor
                           Tech City: LA
           24              Tech State/Province: LA
                           Tech Postal Code: 78896
                           T<:<ch Country: US
           25              Tech Phone: +1.3146314948
                      httr,s:f[whnis.domaintools.ccm/antih-M1.com                                                                2//4
           26
           27
           28
                                                                                          23
                                                                                  COMPLAINT
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            1         5/1/20?2                                          AlanKnavcu:om WHOJS, DNS, & Domain 1nfo - DomainTools


8           2
w
            3
            4
                         Home > Whois lookup :- A!anKnave,corn
            5
            6            Whois Record for AlanKnave.com
            7            Donulin Available

            8
                            alanknave.com is for sale!
            9
           10                                                                    Buy .:i!anknave.com


           11            - Domain Profile

                          Domain Status             Deleted And Available Again
           12
                          IP History               6 changes on 6 unique !P add1t:sses over 2 years                             r+
           13             Registrar History        2 registrafs v,1Hh 1 drop                                                    r+
           14             Hosting History           5 changes on 4 unique nJml' St)fVe/'5 ovt:f 2 years                         r+
                         -Website
           15
                          Website Title            None given,
           16
                         Who!s Record
           17
                                   Whofs Record Not Available
           18               A      lh!s ctorm,!n is not registered.

           19
           20
           21
           22
           23            Tools

                                                                                   Hosting Histor)'
           24
           25
                      flttµs://whois.domaintools.corn!0!snkritiv0.com                                                                1/3
           26
           27
           28
                                                                                     24
                                                                                  COMPLAINT
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            2    13. All of the domains appearing in the from line of the KetoSoup UCE's (except for one of them),

"           3    which are alleged to be utilized by Defendant Flex Marketing Group, are referred to as ("Flex

            4    Domains"), or ("KetoSoup Domains") ; are untraceable by a whois search. For some, the
            5   "registrant" is redacted, and for others it is listed as "DLZ Offers", "Dealzingo", which do NOT
            6
                correspond to a real person or entity, nor are they registered trade names/dba's/fictitious names
            7
                 registered to any company. This is very important, as caselaw surrounding the "traceability of the
            8
                sending domain through a whois search" suggests that untraceable sending domains constitute a
            9

           10   forged header pursuant to caselaw of California Business and Professions Code 17529.5

           11   ("California Anti-Spam Law") which is nearly identical to SD Anti-Spam Law, almost copy-and-

           12   paste as it relates to the relevant sections which are material to this complaint. (Balsam VTrancos)
           13
                and (Greenberg V Digital Media Solutions) and many other cases finding, inter alia, that
           14
                untraceable-by-whois 'sending domains' constitute a materially forged header, as is relevant to the
           15
                section, and further that the ("Advertiser") is strictly liable for the untraceable "from domains" in
           16
                emails sent by the ("Sender") or ("Initiator") Hypertouch V ValueClick, among other more recent
           17

           18   cases.

           19   For KetoSoup domains in which the 'whois data' references a "registrant organization" of "DLZ

           20   Offers" or "consumer concierge"and the address PO Box 4668 #85919 and an email address of
           21
                "info@dlzoffers.com" ... these are still untraceable as:
           22
                a) "DLZ Offers" and "consumer concierge" and "Lincoln Smith "are not a business entity-or-
           23
                person which can be held accountable, or located at the address provided (if any), nor are they
           24

           25   registered dba's/trade names/fictitious names of the same.

           26   b) The websites hosted on the domains do not contain the name of the business or entity behind

           27   them either. Further, the terms&conclitions on these websites (which are near-identical to each
           28   other), do not contain the name of the person(s) or entit(ies) behind them. Therefore, for many
                                                                    25
                                                              COMPLAINT
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                months, Flex Marketing Group was known to Plaintiff as John Doe Sender until he eventually
            l

            2    "connected the dots".

            3    14. Whois Data for these ("Flex Domains"), or ("KetoSoup domains"), utilized in sending the

            4    ketosoup UCE's, is shown below, but may include some sending domains not specifically utilized
            5    in the sending of UCE's advertising Carshield / AAS:
            6

            7

            8                                         (continued next page)
            9

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                                                                26
                                                             COMPLAINT
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                 15a. Whois Record For Ema.ils-JobsDelivered.com:
            1
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            2
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            3

            4

            5         3!6!?0?.2

                          -Website
            6
                           Website Title

            7             Whols Record ( las;t updated on 2022A}3·06)

            8               Domain Name: emails-jobsdelivered.com
                            Registry Domain 10; 2459945556,_00MAIN_COM-VRSN
            9               Registrar WHOIS Server: whois.moniker.com
                            Registrar URL: http://www.moniker.com
                            Updated Date: 2022-0l-82T01:16:24Z
           10               Creation Date: 2019-!!-26Tl8:48,B9Z
                            Registrar Registration Expiration Date: 2022-ll-26T18:48:89Z
                            Registrar: Moniker Online Services LLC
           11               Registrar !ANA ID: 228
                            Registrar Abuse Cont act t.mai l :                            abt1tfirBJ:cv1t:q;,mornk.e1 .coin
           12               Registrar Abuse Contact Phone: +1.9546071294
                            Domain Status: ok https://icann.org/epp#ok
                            Registry Registrant IO: REDACTED FOR PRIVACY
           13               Registrant Name: REDACTED FOR PRIVACY
                            Registrant           Organization: DLZ Offers
           14               Registrant           Street: PO Box 4668 #85919
                            Registrant           City: New York
                            Registrant           State/Province: NY
           15               Registrant           Postal Code: 10163-4668
                            Registrant           Country: US
                            Registrant           Phone: +l.8444353969
           16               Registrant           Phone Ext:
                            Registrant Fax: REDACTED FOR PRIVACY
           17               Registrant fax Ext: REDACTED FOR PRIVACY
                            Registrant Email: in!o@dLrnt1i:1s,ct;rn
                            Registry Admin II): REDACTED FOR PRIVl,CY
           18               Admin Name: REDACTED FOR PRIVACY
                            Admin Organization: DLZ Offers
           19               Adm in Street: PO Bo;,:. 4668 #85919
                            Admin City: New York
                            Admin State/Province: NY
           20               Adm in Postal Code: 10163" 4668
                            Admin Country: US
                            Admin Phone: +l.8444353969
           21               Admin Phone Ext:
                            Admin Fax: REDACTED FOR PRIVACY
           22               Admin Fax Ext: REDACTED FOR PRJVACY
                            Ad-min Email: 1nfof}j;<Hz,0tt-e1s corn
                                  try lech IO: REDACTED FOR PRIVACY
           23                         Name: REDACTED FOR PRIVACY
                            Tech Oraanization: DLZ Offers
                            Tech Stf~eet: PO Box 4668 #85919
           24               Tech City: New York
                            Tech State/Province: NY
           25               Tech Postal Code: 10163-4668
                            Tech Country: US
                            Tech Phone +!.8444353969
           26               Tech Phone Ext:
                            Teet Fax: REDACTED FOR PRIVACY
                            Tech Fax Ext: REDACTED FOR PRIVACY
           27               Tech Email: 1r1fo(,}'.;<:Hz.om.:r;,1::-)m
                            Regist,·y Billing ID REDACTEO FOR PRIVACY
           28               Billing Name: REDACTEtl fOR PRIVACY
                            Billing Organization: DLZ Offers
                            Billing Street: PO Box 4668 #85919
                            Billing City: New York
                      Ii tt ps ://who fs,domv intool s, comtcma i!s •joil sde!i vered .corn                                   ?./fl
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                 15b. Whois Record For jobsharknl.com:
            1
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            2         3/6/2022                                         J0b$1iarknLcom VJtiOIS. DNS, & Dt.Hn;;,ln Info" DonwinTools

~                                                  1 change on 2 unique name servers over 2 years
            3
            4
                                                   None given.
            5
                         Whol5 Record ( last updated on 2022·03-06)
            6
                           Domain Name: jobsharknl.com
                           Registry Domain ID: 2538720752 DOMAIN COM-VRSN
            7              Registrar WHOIS Server: whois.ffioniker~com
                           Registrar !.lRL: http://www.moniker.com
            8              Updated Oate: 2021-06 16T07:36:07Z
                           Creation Oate: 2020-06-1ST20:32:33Z
                           Registrar Registration Expiration Date: 2822-96-15T28:32:33Z
            9              Registrar: Moniker Online Services LL(
                           Registrar !ANA ID: 228
                           Registrar Abuse Contact Email:                     abuseri:}psnt@n1oni~0H;o!ll
           10              Registrar Abuse Contact Phone: +1.9546871294
                           Domain Status: ok https://icann.org/epp#ok
           11              Registry Registrant IO: REDACTED FOR PRIVACY
                           Registrant Na1111e: REDACTED fOR PRIVACY
                           Registrant Organization: DLZ Offers
           12              Registrant Street: PO Rox 4668 #85919
                           Registrant City: fiew York
                           Registrant Sta-tQ/(>rovince: NY
           13              Registrant Postal Code: 18163-4668
                           Registrant Country: US
           14              Registrant Phone: + 1. 8444353969
                           Registrant Phone Ext:
                           Registrant Fax: REDACTED FOR PRIVACY
           15              Registrant Fax Ext: REDACTED FOR PRIVACY
                           Registrant Email: into@dizoftc'Js.mm
           16              Registry Mmin ID: REDACTED FOR PRIVACY
                           Admin Name: REDACTED FOR PRIVACY
                           Admin OrQanization: OLZ Offers
           17              Admin Street: PO Box 4668 #85919
                           Admin City~ New York
                           Admin State/Province; NY
           18              Admin Postal (ode: 10163 4668
                           Admin Country: US
           19              Admi11 Phone: +l.8444353969
                           Admin Phone Ext:
                           Admin Fax: REDACTED FOR PRIVACY
           20              Admin Fax Cxt: REOACTEO FOR PRIVACY
                           Adm in Ema :i l : info@Ultoff?;rs ,:x;;m
           21              Registry Tech IO: REDACTED FlJR PRIVACY
                           Tech Name: REDACTED FOR PRIVACY
                           Tech Organization: DLZ Offers
           22              Tech Street: PD Box 461!8 #85919
                           Tech City: New York
                           Tech State/Province: NY
           23              Tech Postal Code: 10163 4668
                           Tech Country: US
                           Tech Phone: +l.8444353969
           24              Tech Phone Ext:
                           Tech Fax: REDACTED FOR PRIVACY
           25              Tech Fax Ext: REDACTED FOR PRIVACY
                           Tech Email: 1nfol£b:-di.U)ftH:;ct>m
                           Registry 81\\ing ID: REDACTED FDR PRIVACY
           26              Bi Hing Name: REDACTED FOR PRIVACY
                      httµs:{/whois.dornaintools.com!1nbsh;:;rkntcom                                                                 2/4
           27
           28
                                                                                          28
                                                                                   COMPLAINT
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                  15c. Whois Record For nationalsurveysonline.corn
             1
~            2                                                         Nation.;,;1SurveysOnline.com WHOIS. DNS, & Domain Info, Domain Tools
                       3/7/2022

00                         Hosting History            5 changes on 4 unique name s,;:;rvers over 16 years
             3
                          -Website
             4
                           Website Tlt!e              None given.

             5
                          Whois Record { last updated on 2022-03·06)

             6
                            Domain Name: nationalsurveysonline.com
                            Registry Domain IO: 2337211756_00MAIN_C0J•\-VRSN
             7              R£~gistnir WHO.IS Server: whois.moniker.com
                            Registrar URL~ http://www.moniker.com
             8              Updated Date: 2822-81-B2TB1:19:26Z
                            Creation Date: 2Bll-ll-26T21:51:56Z
                            Registrar Registration Expiration Date: 2822-11 26T21:Sl:56Z
             9              Registrar: Moniker Online Services LLC
                            Registrar IANA ID: 228
                            Registrar Abuse Contact Email: abust:r0por1@n:ornk.N;:.om
            10              Registrar Abuse Contact Phone: +1.9546071294
                            Domain Status: ok https://icann.org/epp#ok
            11              Registry Registrant ID: REDACTED FOR PRIVACY
                            Registrant Na••: REDACTED FOR PRIVACY
                            Registrant Organization: DLZ Offers
            12              Registrant Street: PD Box 4668 #85919
                            Registrant City: New York
                            Registrant State/Province: NY
            13              Registrant Postal Code: 10163-4668
                            Registrant Country: US
            14              Registrant Phone: +1.8444353969
                            Registrant Phone Ext:
                            Registrant Fax: REDACTED FOR PRIVACY
            15              Registrant Fax Ext: REDACTED FOR PRIVACY
                            Registrant Email: info@dlt:o!fars-corn
            16              Registry Mmin IO: REDACTED FOR PRIVACY
                            Admin Name: REDACTED FOR PRIVACY
                            Admin Organization: DLZ Offers
            17              Admin Street: PO Box 4668 #85919
                            Admin City: New York
                            Admin Stat~/Province: NY
            18              Admin Postal Code: 10163-4668
                            Admin Country: US
                            Adrnin Phone:· +1.8444353969
            19              Admin Phone Ext:
                            Admrn Fax: HE£)AC!EO FOR PRlVACY
            20              Admin Fax Ext: REDACTED FOR PRIVACY
                            Ad min Email:          intof~1:tl\1li'.<S c:c,rn
                            Registry Tech ID: REOACTEO FOR PRIVACY
            21              Tech Name: REDAC1EU FOR PRIVACY
                            Tecl1 Organizatio1•: DLZ Offers
            22              Tech Street: PO Box 4668 #85919
                            Tech City: New York
                            Tech State/Province: NY
            23              Tech Postal Code: 19163-4668
                            Teel, Country: US
                            Tech Phone: +1.8444353969
            24              Tech Phone Ext:
                            Tech Fax:        REDACTED FOR PRIVACY
            25              Tech Fax Ext: REDACTED FOR PRIVACY
                            Tech Email: 1nto,g.•::H1ot~ei;:u)1r:
                            Registry Billing ID: REDACTED FOR PRlVACY
            26              Bil ling Name: REDAClEO FOR PRIVACY
                       https://whois.dom.i.intools torn/11ational:,uivcy0>on!inc.com
            27
            28
                                                                                               29
                                                                                        COMPLAINT
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                 15d. Whois Record For nationalshoppersurvey.com:
            1
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            2         3[?{2012                                     f,fotion0!$hopper.Surv12y.cc:m \VHO!S. ONS, & Dorn;iin lnfo OomainTools

~                         Hosting History            14 ch,anges on 9 trnique nan-.e servers over 17 years
            3
                         -Website
            4
                                                     None given.
            5
                         Whois Record ( last updated on 2h22-03-06 )

            6
                           l1omain Name: nationalshopp1!r,urvey.cum
                           Hegistry Domain ID: 2278167588_00HAIH __COH-VRSN
            7              Registrar WHOIS Server: whois,moniker.com
                           ~egistrar URL: http://www.monikeLtom
            8              Updated Date: 2021·06-Ul107:25:41Z
                           Creation Date: 2018-05-31118:57:BlZ
                           Registrar Registration Expiration Date: 2922-85-31Tl8:57:91Z
            9              Registrar: Moniker Online Services LLC
                           Registrar !ANA ID: 228
                           Registrar Abuse Contact Email: ~lf)usen.lr,ori-@m,yn\keu.'.t)m
           10              Registrar Abuse Contact Phone: +1.9546071294
                           Domain Status: ok https://icann.org/epp#ok
           11              Registry Registrant ID: REDACTED FOR PRIVACY
                           Registrant Name: REDACTED FOR PRIVACY
                           Registrant Organization: OLZ Offers
           12              Registrant Street: PO Box 4668 #65919
                           Registrant City: Nei.•1 York
                           Registrant State/Province: NY
           13              Ragistrant Postal Coda: 18163-4668
                           Registrant Country: US
           14              Registrant Phone: +l,8444353969
                           Registrant Phone Ext:
                           R•gi,trant Fax: REDAClED FOR PRIVACY
           15              Registrant Fax Ext: REDACTED FOR. PRIVACY
                           Registrant Email: infC){];-Ji.::.:;flf'n;com
           16              Registry Adm.in ID: REDACTED rOR PRIVACY
                           Admin Name: REDACTED FOR PRIVACY
                           Admin Organization: DLZ Offers
           17              Admin Street: PO Box 4668 #8:5919
                           Admin City: New York
                           Admin State/Province: NY
           18              Admin Postal Code: 10163-4668
                           Admin Country: US
                           Admin Phone: +1.8444353969
           19              Admin Phone Ext:
                           Admin lax: REDACTED FOR PRIVACY
           20              Admin Fax Ext: REDACTrD FOR PRIVACY
                           Admin t:mai l: rnfo@di2ofie1t U)i'n
                           Registry Tech ID: REDACTED FOR PRIVACY
           21              Tech Name: REDACTED FOR PRIVACY
                           Tech Organization: OLZ Offers
           22              Tech St rerlt: PO Box 4668 #85919
                           Tech City~ New York
                           Tech State/Province: NY
           23              Tech Postal Code: 18163-4668
                           Tech Countty: US
                           Tech Phone: 11. 8444353969
           24              Tech Phone Ext:
                           Tech Fax: REOACTED FOR PRIVACY
                           Tech Fax Ext: REDACTED FOR PRIVACY
           25              Tech Email: in!b@d1Zoiii/rscom
                           Registry Billing ID: REDAC1ED FOR PRIVACY
           26              Billing Name: REDACTED FOR PRIVACY
                      https;//whois.durm:iinlools.corn/nalio11ai'ohopp<:crsurv,cy.com
           27
           28
                                                                                           30
                                                                                        COMPLAINT
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                 15e. Whois Record For buzzbarrelreview.corn:
            1
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            2         317/2022                                         BuzzBarrelReview.com WHO!S, DNS, & Dmnain !nfo . DomainTonfs

'                          Hosting History             i change on 2 unique narne servers over 2 years
            3
                         -Website
            4
                           Website Title              None given_
            5
                         Whois Record ( last updated on 2022-03-06)

            6
                            Domain Name: buzzbarrelreview.com
                            Registry Domain ID: 2533730520_DOMAIN_COM-VRSN
            7               Registrar WHOIS Server: whois.moniker.com
                            Registrar URL: http://www.moniker.com
                            Updated Date: 2021-06-04107:30:46Z
            8              Creation Date: 2020-06-03T20:23:54Z
                           Registrar Registration Expiration Date: 2022-96-93T20:23:54Z
            9               ReQistrar: Moniker Online Services LLC
                            ReQistrar IANA ID: 228
                            Registrar Abuse Contact Email: abusvreitt:Hi@ffumfkz,rtom
           10               Registrar Abuse Contact Phone: +l.9546071294
                           Domain Status: ok https://icann.org/epp#ok
           11              Registry Registrant ID: REDACTED FOR PRIVACY
                           Registrant Name: DLZ Offers
                           Registrant Organization: OLZ Offers
           12              Registrant Street: 321 East 22nd St. Suite 10
                           Registrant City: New York
                           Registrant State/Province: NY
           13              Reiistrant Postal Code: 18010
                           Registrant Country: US
           14              Registrant Phone: +1.3474020572
                           Registrant Phone Ext:
                           Registrant Fax: REDACTED FOR PRIVACY
           15              Registrant Fax Ext: REDACTED FOR PRIVACY
                           Registrant Email: chnsiam0S(lnnwp@·gma1I coin
           16              Registry Admin ID: REDACTED FOR PRIVACY
                           Admin Name: DLZ Offers
                           Admin Organization: OLZ Offers
           17              Admin Street: 321 East 22nd St. Suite lD
                           Admin City: New York
                           Admin State/Province: NY
           18              Admin Postal Code: 10010
                           Admin Country: US
           19              Admin Phone: +1.3474020572
                           Admin Phone Ext:
                           Mmin Fax: REDACTED FOR PRIVACY
           20              Admin !'ax Ext: REDACTED FOR PRIVACY
                           Ad min Emai 1.: rnrisJanw:10nnw;>@t1rn:t1Lcom
                           Registry Tech IO: REDACTED FOR PRIVACY
           21              Tech Name: DLZ Offers
                           Tech Or9anization: DLZ Offers
           22              Tech Street: 321 East 22nd St. Suite 10
                           Tech Citv: New Yark
                           Tech Staie/Province: NY
           23              Tech Postal Code: 10010
                           Tech Country: US
                           Tech Phone: +1.3474028572
           24              Tech Phone Ext:
                           Tech Fax: REDACTED FOR PRIVACY
           25              Tech Fax Ext: REDACTED FOR PRIVACY
                           Te ch Ema i. l : Chtisjam1:s.::1nnw;>@:iyri;1;l 1x1rn
                           Registry Billing ID: REDACTED FOR PRIVACY
           26              Billing Name: OL2 Offers
                      https'.//whoi'.;,dc,nv1!ntools.u:;rn/ouzzbarrelrnview,corn                                                      2/4
           27
           28    15f: Whois Record For ExpectCareCare.corn:
                                                                                       31
                                                                                    COMPLAINT
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            1         3/7/2022                                                   t:li:pectc;;;reca,e,rnrn \iVHOlS, DNS. & Domain Info. DomainToots

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                           Hosting History                  1 change on 2 unique 11Jme servers ov0:r 7 years
            2
                          -Website
"
            3
                           Website Title                    None given.

            4             Whols R~con.i ( last updated on 2022-03-06 l

            5               Domain Name: expectcarecare,com
                            Registry DomaJ.n IO: 1961356903_00MAIN_COM VRSN
            6               Registrar WHOlS Server: whois,moniker.coro
                            Registrar URL: http://WW\.,t,moniker.com
                            Updated Date: 2921-18-24Tl3:24:45Z
            7               Creation Date: 2015·09~18T07:41:38Z
                            Registrar Registration Expiration Date: 2022-09-18T07:41:38Z
                            Registrar: Moniker Online 51!:rvice-s ll(
            8               Registrar JANA ID: 228
                            Registrar Abuse Contact Email;                                 atu~,0wport@m1Jn;,ke1 com
            9               Registrar Abuse Contact Phone: 1,1,9546071294
                            Domain Status: ok http,://icann.org/epp$ok
                            Registry Registrant ID: REDACTED FOR PRIVACY
           10               Registrant Name: Lincoln Smith
                            Registrant Organization: Consumer Concierge
           11               Registrant Street: PO Box 1i66S #85919
                            Registrant City: New York
                            Registrant State/Province: NY
           12               Registrant Postal Code: 10163 4668
                            Registrant Country: US
                            Registrant Phone: +1.8444353969
           13               Registrant Phone Ext:
                            Registrant fax:
           14               Registrant Fax Ext:
                            Registrant Email: info~!}IOtishJsttc,i
                            Registry Admin ID: REDACTED FOR PRIVACY
           15               Admin Name: Lincoln Smith
                            Admin Organization: Consumer Concierge
           16               Admin Street: PO Box 4668 #85919
                            Admin City: New York
                            Admin State/Province: NY
           17               Admin Postal Code: 10163~4668
                            Admin Country: US
                            Admin Phone: +1.8444353969
           18               Admin Phone t.xt;
                            Admin Fax:
                            Admin Fax Ext:
           19               Admin Email: info@)jGt1'%h8.tk W
                            Registry Tech ID: REllACTED FOR PRIVACY
           20               Tech Name: Lincoln Smith
                            Tech Organization: Consumer Concierge
                            Tech Street: PO Box 4668 #85919
           21               Tech City: New York
                            Tech State/Province: NY
           22               Tech Postal Code: 10163-4668
                            Tt0ch Country: US
                            lech Phone: + 1. 84443:';3969
           23               Tech Phone Ext:
                            Tech Fax:
                            Tech fax Ext:
           24               Tech Email: infD{i;?J::ct,,1f;s11Kco
                            Registry Billing ID: REDACTED fOR PRIVACY
           25               Billing Name: Lincoln Smith
                      fl t.t ps ://wl\ois. dorna mtoo!5 ,c omfexpec tc ai e1; i'H e. com                                                             2f 4
           26

           27
                 15g. Whois Record For RumDrFox.com:
           28
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                                                                                               COMPLAINT
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            1      ~ DOMAINTOOLS
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            2
"
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            4
                   Whois Record for RumorFox.com
            5

            6       R:egistrn-nt        REDACTED FOR PWVACY

            7                           REDACTED FOR PRIVACY

                    Regh-tnrnt Country us
            8
                    Registrar           DNC Hedding:;, !nc DNC Holdings. Inc
            9                           !ANA !D: 29:l
                                        Ui1L: htt1::/\:c,,wvl.dfn:.<lnk.c:Jm
                                        VVilo/s S(•PJfir: whoi<:,.dircctnkxoff1
           10
                                         ;-J:,use@direct1 i[cc on,
           11                           (p) H177H:J695~/fl


           12
                                        2,122 days old
           13                           Created on 2016·03·2.b
                                        E:q:Hrc:c. on 2022,.03··28
                                        lJpd;+tcd on 2021-02·08
           14
                                        NS1.C3007ltSGVPS.NET (l'la~- 109.£,\Y/ dom ·,in;.:
           15                           f\JS2.C3007i:LSGVPSJ\!ET 01a:;. 1G9,S97 dorn:,ins)

           16       Tech Contact        REDACTED FOR PRIV/',C'(
                                        REDACTED FOR PRIVACY
                                        fHJ);S,ClTD- FOR PF:IVJ\Cf REDAC fED FOH PH!V.,\CY F?EDACT[D FOP PRIVACY !UJ)ACTCD
           17                           F()R PRiV:\CY

           18                            nuncrit~x,c0m-tc,ch;}\':irEctnicwhr>lscoiriplicrnce.curn
                                        \p) X

           19       !P Addre,;s

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                    /1SN                ~,r:.,SlS169 GOCJGLE, US irt,gi,;..t~:t(-d M:-,r 30 2000}
           21
                    Dorna!n Status
           22

           23   16. Plaintiff is informed and believes and alleges that all of the UCE's were sent by Flex Marketing
                Group LLC through the use-and-abuse of the following two email marketing platforms:
           24
                A: Aurea Email Marketing: Lyris Inc and its parent company Aurea Inc ("Aurea")
           25   B: Keap: Infusion Software, Inc clba Keap ("Keap")

           26
                To clarify the above, each individual UCE is alleged to have been sent through the email marketing
           27
                platforms of Aurea OR Keap.
           28
                                                                                 33
                                                                         COMPLAINT
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                 Plaintiff believes and alleges that both Aurea AND Keap have strict, clear, anti-spam policies in
            1
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                 their terms of service agreements, to which Flex Marketing Group must have agreed. For Aurea,
            2

            3    this is called the "Terms of Use." For Keap, this is called the Acceptable Use Policy (AUP).

            4
                 17. Both contracts, in their own words, expressly disallow and prohibit the use of their services to
            5    send

            6    email to those who did not directly consent to receive emails from the sender. Beginning with

            7    Keap's Acceptable Use Policy (AUP), the following important conditions appear:

            8
                 A) All email lists used in conjunction with the services provided by Us are reqnired to be 100%
            9

           10    solicited (opt-in) lists ...

           11    B) Bartering, purchasing or renting lists of names and sending e-mails to those people is strictly

           12    prohibited, and marketing lists containing email addresses cannot be shared/duplicated/transferred
           13
                 between Our individual applications.
           14
                 C) You may not use the Services to, nor allow its nsers or
           15
                 any third-party to use the Service to: Generate or facilitate unsolicited commercial email
           16

           17    (spam), including without limitation: sending communications or email in violation of the CAN-

           18    SPAM Act or any other applicable anti-spam law or regulation; sending unauthorized mail via open,

           19    third-party servers; sending email to users who have requested to be removed from a mailing list;

           20    marketing to any lists whose recipients did not express expl.i.ci.t consent to receive such marketing
           21
                 material; selling to, exchanging with, sharing with or distributing to a third party personal
           22
                 information, including the email addresses of any person without such person's knowing
           23
                 and continued consent to such disclosure; or sending unsolicited emails to significant numbers of
           24

           25    email addresses belonging to individuals and/or entities with whom you have no preexisting

           26    relationship ... [inter alia] ... Create a false identity for the purpose of misleading others, impersonate

           27    another person, entity or Us (via the use of an email addressor otherwise) or othe1wise misrepresent
           28
                 the source of any communication .... [inter alia] ... Generate or facilitate any communications
                                                                    34
                                                                 COMPLAINT
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             (including without limitation, SMS, MMS, or other text messages, calls, faxes, or push
        1

        2 notifications) in violation of the Telephone Consumer Protection Act, the Do-Not-Call
        3    Implementation Act, or any other applicable law including anti-spam, telemarketing or telephone

        4    consumer protection laws or regulations. Violate any applicable policy, terms of use, or agreement

        5    with Us, including without limitation, Our Terms of Use, the Click to Call/ Click to Text Beta
        6
             Service Terms of Use, and DMCA Policy, as may be updated or amended from time to time; or
        7
             Violate any other applicable laws or regulations.
        8

        9

       10    D) You may not, and may not allow any third-party, including Your users, to use the Services to

       11    display, store, process or transmit, or permit use of Services to display, store, process or transmit

       12    (collectively the "Prohibited Material"): Material that infringes or misappropriates, or uses without
       13
             appropriate consent, a third party's intellectual property or proprietary rights; ... [inter alia] ...
       14
       15
             18. For reference, the full Keap Acceptable Use Policy is listed on the next page. NOTE: Any
       16
             "cutting off" of text between pages is unintentional. At the time of filing this complaint, the full
       17
       18    AUP is viewable at https://keap.com/legal/aup.

       19

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                                                              COMPLAINT
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            1         11/19/2021                                 Acceptable Use Policy (AUP) - Keap & lnfusionsoft by Keap


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            3
            4
                                   Products v      Features v   Pricing



                                          For a limited time, get 30%
                                                                           Interesting stuff v




                                                                Ends today. Sa11e now!
                                                                                          on your first 3 months.
                                                                                                                         -   --
            5
            6
                                                                                          We use tools to track, analyze,
            7                                                                             and personalize your experience
                                                                                          and ads, and share data with
            8                                                                             affiliates. See cookie notke.
            9

           10                      Keap Acee - M--~~
           11

           12                         Policy (AUP)
           13
           14
           15
           16
           17                              Revised: January 29, 2019
           18
                                           Hello! Please keep reading this in1portant
           19                              policy.
           20                              It applies to your use of any of our services. Speaking
           21                              of which, thank you               your interest. We appreciate
                                           you (and your apparent love of legal terms).
           22
           23
                                           Who are we?
           24
           25
                      hltps://keap,com/legal/aup                                                                              1/10
           26
           27
           28
                                                                             36
                                                                          COMPLAINT
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        1         11/19/2021                                    Acceptable Use Policy (AUP)   Keap & lnfusionsoft by Keap



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        4
                      k        Products v         Features v




                                         Who are you?
                                                               Pricing    Interesting stuff v

                                                                                                                        -   --
        5
                                         You are a customer, or you represent a customer, of
        6                                our Keap Service (as defined below).                              you be "You"
        7                                (or "Your").

        8
                                         A few things You should know right away:
        9
                                         YOU, YOUR AFFILIATES, AND ANY COMPANY YOU
       10
                                         REPRESENT AGREE TO FOLLOW AND BE BOUND
       11                                BY THIS ACCEPTABLE USE POLICY ("AUP"). IF YOU
       12                                ARE AGREEING TO THESE TERMS ON BEHALF
                                         YOUR AFFILIATE(S) OR COMPANY, YOU ARE
       13
                                         REPRESENTING TO US THAT YOU HAVE READ
       14                                THESE TERMS, YOU HAVE THE AUTHORITY TO BIND
       15                                YOUR AFFILIATE(S) OR COMPANY, AND THE TERM
                                         "YOU" SHALL REFER TO YOUR AFFILIATE($) AND
       16
                                         COMPANY IF YOU DO NOT HAVE SUCH AUTHORITY,
       17                                OR IF YOU DO NOT AGREE TO THESE TERMS, YOU
       18                                MUST NOT                OUR SERVICES. YOU ARE SOLELY
                                         RESPONSIBLE FOR ENSURING YOUR AFFILIATES
       19
                                         OR COMPANY COMPLY WITH THIS AUP.
       20
       21                                  1. Scope.
                                              This AUP applies to Your use of all of Our services,
       22
                                                 including      subscl"iptions                Our hosted software
       23                                        as a service (SaaS) solutions and any other related
       24                                        services that We may provide to You ("Services").

       25                                  2. Effective Date_fLolicy.
                  htlps://keap,<.Otn/legal/aup                                                                                   2/10
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                                                                         COMPLAINT
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            1         11/19/2021                                    Acceptable Use Policy (AUP) - Keap & lnfusionsoft by Keap




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            2                      Products v       Features v    Pricing     Interesting stuff v
C
            3
                                                   This AUP is current as of the date set forth above.
            4                                      We reserve the right to update AUP from time to
            5                                      time consistent with applicable laws and principles.
                                                   Any changes will be effective as of the date we
            6
                                                   publish the revised version at Keap.com/legal, or as
            7                                      otherwise specified in the AUP. IF AT ANY TIME
            8                                      YOU CHOOSE NOT TO ACCEPT THIS AUP, YOU
                                                   MUST NOT USE THE SERVICES.
            9
                                             4. Violations.
           10
                                                Any violation of this AUP will be considered a
           ll                                      material breach of Our Terms of Use and/or any
           12                                      other agreement You have with Us governing Your
                                                   use of the Services. We reserve the right to
           13
                                                   terminate or suspend Your account for any
           14                                      violation of this AUP, and We will not be liable for
           15                                      any interruptions in service or other monetary loss
                                                   related to enforcement of this AUP.
           16
           17                                      You will be solely responsible for any monetary
                                                   damages suffered by Us due to Your actions or
           18
                                                   inactions, including without limitation, regulatory
           19                                      penalties (e.g., FTC) and punitive damages related
                                                   to Our lost clients and revenues. Further, You
           20
                                                   agree to indemnify and hold Us harmless from and
           21                                      defend Us against any third party or government
           22                                      claims, including all related damages, costs and
                                                   expenses (including reasonable attorneys' fees),
           23
                                                   that          due to Your violation this AUP, including
           24                                      damages related to other users of the Services and
           25                                      attorney's fees.
                      hltps:j/keap.com/legal/aup                                                                                    3/10
           26
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                                                                             COMPLAINT
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            2            k         Products v        Features v   Pricing     Interesting stuff v                                     -
            3                                                                                                                    ,'
                                                    store, process or transmit, or permit use of
            4
                                                    Se1·vices to display, store, process or transmit
            5                                       (collectively         "Prohibited Material"):
            6
                                                    • Material that infringes or misappropriates, or uses
            7                                         without appropriate consent, a         party's
                                                      intellectual property    proprietary rights;
            8
                                                    • Hate-related, abusive, and/or material advocating
            9                                         discrimination against individuals or groups;

           10                                       • Material related to violence of any kind, including
                                                      instructions on how to assemble or otherwise make
           11
                                                      bombs or other weaponry
           12
                                                    • Obscene, excessively profane, disparaging,
           13                                         defamatory, malicious, unlawful or otherwise
                                                      objectionable material, including pornographic or
           14                                         illicitly pornographic sexual products, adult magazines,
                                                      video and software, escort services, dating services,
           15
                                                      adult "swinger" material, or anything which exploits of
           16                                         minors under 18 years of age;

           17                                       • Material advocating or advancing criminal hacking,
                                                      cracking, or phishing;
           18
                                                    • Material related in any way to illegal drugs or
           19                                         paraphernalia, marijuana and related paraphernalia,
                                                      prescription drugs, and any product subject to or
           20
                                                      content in violation of the Controlled Substances Act;
           21
                                                    • Material that in any way targets children 13 years of
           22                                         age or younger;

           23                                       • Unlawful software and malicious code, (such as
                                                      viruses, worms, time bombs, Trojan horses and other
           24                                         harmful or malicious files, scripts, agents or programs),
           25
                      https://keap,cotn/legal/aup                                                                                         4/10
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                                                                              COMPLAINT
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            1         11/19/2021                                          Acceptable Use Policy {AUP) - Keap & !nfusionsoft by Keop




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            2                       Products v              Features v   Pricing    Interesting stuff v
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            3                                              • 1v1ai:erra1 rnat v101aws, encourages or runners conauct
                                                             that would violate any applicable laws, including any
            4
                                                             criminal laws, or any third-party rights, including
            5                                                publicity or privacy rights;

            6                                              • Debt collections, credit repair and debt relief
                                                             offerings stock picks or promotions "get rich quick"
            7                                                and other similar offers;

            8                                              • Cryptocurrency sales and promotions or material
                                                             related to "Mining" bitcoins and other
            9
                                                             cryptocurrencies; or
           10
                                                           • Content related to pyramid schemes or network
           11                                                marketing (i.e. MLM) businesses, odds making and
                                                             betting/gambling services, including but not limited
           12                                                online casino games, and sporting events
           13
                                                   6. Prol'libited Actions.
           14
                                                      You may not use the Services to, nor allow its users
           15                                              or any third-party to use the Service to:
           16
                                                           • Publish, post, upload, distribute, promote, sell,
           17                                                support, facilitate or otherwise make available, or
                                                             engage in any activity related in any way to, any
           18                                                Prohibited Material;

           19                                              • Generate or facilitate unsolicited commercial
           20                                                email (spam), including without limitation:

           21                                                • sending communications or email in violation  the
                                                               CAN-SPAM Act or           applicable anti-spam
           22                                                  law or regulation;
           23                                                • sending unauthorized mail via open, third-party
           24                                                  servers;

           25
                      https ://ke a p. c orn/lega I/au p                                                                              5/10
           26
           27
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                                                                                    COMPLAINT.
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            1         11/19/2021                                  Acc,~ptable Use Policy (AUP) - Keap & lnfusionsoft by Keap


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            4
                                   Products v       Features v   Pricing    Interesting stuff v


                                                     • marKenng ro any 11sts wnose rec1p1ems a1a nor
                                                       express .explicit consent to receive such marketing
                                                       material;
                                                                                                                           -   --
            5
                                                     • selling to, exchanging with, sharing with or
            6                                          distributing to a third party personal information,
                                                       including the email addresses of any person without
            7                                          such person's knowing and continued consent to
                                                       such disclosure; or
            8
                                                     • sending unsolicited emails to significant numbers of
            9
                                                       email addresses belonging to individuals and/or
           10                                          entities with whom you have no preexisting
                                                       relationship;
           11

           12                                      • Send voice broadcasts to any recipient listed on the
                                                     National Do Not Call Registry, or a fax to any recipient,
           13
                                                     without first obtaining express permission from the
           14                                        recipient to receive such communications from You;

           15                                      • Send unsolicited communications that direct
                                                     individuals to of Our e-commerce services that
           16                                        reference Us;

           17                                      • Create a false identity for the purpose of misleading
                                                     others, impersonate another person, entity or Us (via
           18
                                                     the use of an email addressor otherwise) or otherwise
           19                                        misrepresent the source of any communication;

           20                                      • Perform significant load or security testing without
                                                     first obtaining Our written consent, or otherwise
           21                                        Interfere with other users' enjoyment of the Services;

           22                                      • Engage in activity in connection with illegal peer-to-
                                                     peer file sharing;
           23
                                                   • Remove any copyright, trademark or other proprietary
           24
                                                     rights notices contained in or on the Services or
           25
                      https://keap.com/legal/aup                                                                                    6/10
           26
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                                                                            COMPLAINT
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            1         11/19/2021                                  Acceptable Use Policy (AUP) - Keap & lnfusionsoft by Keap

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            2            k         Products v       Features v   Pricing    Interesting stuff v                               -
            3                                      • votain or attempt m oormn unaumonzea access co,
                                                     or materials or information from, any Services,
            4
                                                     accounts, computer systems or networks connected
            5                                        to any of the Services, including without limitation,
                                                     through hacking, password mining or any other means;
            6
                                                   • Violate in any manner the applicable guidelines
            7                                        published by the CTIA, the Mobile Marketing
                                                     Association, the Self-Regulatory Principles as directed
            8
                                                     by the Digital Advertising Alliance and the Network
            9                                        Advertising Initiative or any other generally accepted
                                                     industry associations, carrier guidelines or other
           10                                        industry, third party policies or requirements that We
                                                     may communicate to You;
           11
                                                   • Generate or facilitate any communications (including
           12
                                                     without limitation, SMS, MMS, or other text messages,
           13                                        calls, faxes, or push notifications) in violation of the
                                                     Telephone Consumer Protection Act, the Do-Not-Call
           14                                        Implementation Act, or any other applicable law
                                                     including anti-spam, telemarketing or telephone
           15                                        consumer protection laws or regulations;
           16
                                                   • Violate any applicable policy, terms of use, or
           17                                        agreement with Us, including without limitation, Our
                                                     Terms of Use, the Click to Call / Click to Text Beta
           18                                        Service Terms of Use, and DMCA Policy, as may be
                                                     updated or amended from time to time; or
           19
                                                   • Violate any other applicable laws or regulations.
           20
           21
                                             7. Additional RELquirements.
           22                                      • All email lists used in conjunction with the services
                                                     provided by Us are required to be 100% solicited
           23                                        (opt-in) lists, and You must have sufficient evidence, as
                                                     determined in Our sole discretion, that all individuals
           24                                        in Your database have opted in or otherwise explicitly
           25                                        agreed to receive communications from You.
                      https://keap.com/legal/aup                                                                                  7/10
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                                                                            COMPLAINT
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             1        11/19/2021                                  Acceptable Use Polley (AUP) • Kcap & lnfusionsoft by Keap


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            4
                          k        Products v       Features v   Pricing    Interesting stuff v


                                                     be shared/duplicated/transferred between Our
                                                     individual applications.
                                                                                                                          -   ---
            5                                      • All e-mail messages sent using the Services must use
                                                     Our provided opt-out link, must include a valid
            6                                        physical address of the sender and must contain a
                                                     clear subject line that does not mislead the recipient
            7
                                                     as to the contents of the e-mail. The opt-out link may
            8                                        not be excessively "padded" with line- breaks or
                                                     similar means to deceive recipients. Unsubscribe
            9                                        requests must be processed immediately.

           10                                      • You must publish, enforce and abide by a privacy
                                                     policy that protects Your customers' personal
           11
                                                     information in Your possession or under Your control.
           12                                        Such privacy policy at a minimum must be as stringent
                                                     as Our Privacy Policy. In particular, You agree that You
           13                                        will not sell, loan or in any way pledge or hypothecate
                                                     the personal information of Your customers to any
           14                                        other person or entity by way of joint venture or any
           15                                        other agreement.

           16
                                             8.
           17                                      A $250 investigation fee may be assessed to Your

           18                                      account for each complaint of unauthorized
                                                   communication that We receive involving a Your
           19
                                                   account. This non-1·efundable fee goes toward
           20                                      confirming complaints either digitally or verbally
                                                   between sources of complaints. "Complaints" may
           21
                                                   include, but are not limited to, individual reports e-
           22                                      mailed to abuse@Keap.com, third-party Internet
           23                                      Service Provider ("ISP") complaint notifications,
                                                   notification from anti-spam organizations such as
           24
                                                   "SpamCop" and internal heuristic research.
           25
                      https://keap.com/legal/aup                                                                                    8(10
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        3

        4
                               Products v       Features v   Pricing    Interesting stuff v




                                               notification within the Services to notify You of the
                                                                                                                      -           ---
                                               complaint.
        5

        6                                      If You do not take immediate remedial action to
                                               rectify any complaint, or in the event of
        7
                                               widespread and/or repeated violations, or
        8                                      excessive complaints exceeding industry standards
                                               (currently< 0.1% on a per Email/ISP basis, but
        9
                                               subject to change at any time), We reserve the
       10                                      right to suspend or terminate Your access to the
       11                                      Services until the situation has been resolved to
                                               Our satisfaction in Our sole discretion. In the event
       12
                                               of suspension, Services can only be reinstated by
       13                                      meeting the criteria We determine to minimize and
       14                                      address complaints, and We may assess You a $200
                                               "Service Reactivation Fee" in addition to any
       ]5
                                               investigation fees.
       16
       17
       ]8

       19

       20
       21
       22
       23                                                     K<>ap CRM                                  Customer
                                                              software                                   resources
                                                                                    All topics
       24
                                                              All features                               Help center      About
                                                                                    Marketing
       25
                  https://keap.com/legal/aup                                                                                            9/10
       26

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             19. Lyris Inc by and through its parent Aurea Inc, ("Aurea") have a Terms of Use Agreement for its
        1
             email marketing services, and sending unsolicited commercial email is similarly prohibited, in
        2

        3    terms listed below:

        4
             A) Customer may not use the Services to send unsolicited
        5
             email, whether it be commercial or non-commercial, and/or commercial email containing any
        6
             deceptive, unsubstantiated, or unfair marketing claim (collectively, "Spam").
        7
             B) Customer's email wiII be considered unsolicited if Customer's membership addresses are not
        8

        9    100% opt-in by Customer's members. If Customer's email addresses came from harvesting, a

       10    purchased email list, another mailing list (even with the approval oft he other list owner or Service

       11    Provider), or are compiled by any method other than by direct subscription from Customer's
       12
             members, then a!I messages sent to such addresses wil I be considered Spam under these Terms of
       13
             Use.
       14
             C) Customer's email will be considered Spam if it: (i) contains one or more deceptive or
       15
             unsubstantiated claims regarding products or services; and/or (ii) furthers, constitutes, or consists of
       16

       17    an unfair business practice.

       18    D) [Under "Other Unacceptable Uses"] "Send email with an invalid "From:" or "Reply-to:"

       19    address. AII messages posted to Customer's list must contain valid email addresses that accurately
       20
             reflect the sender's identity."
       21
             E) Transmit any unlawful, harmful, threatening, abusive, harassing, defamatory, vulgar, obscene, or
       22
             hateful content or content that is racially, ethnically, or otherwise objectionable, or that infringes
       23

       24    upon the rights of any third party [Paragraphs 8-12], as determined by Service Provider.

       25
       26    F) Impersonate any person, including, but not limited to, an official of Service Provider or an
       27
             information provider, or communicate under a false name or a name that Customer is not entitled
       28
                                                              45
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                 or authorized to use.
            1
            2 G) Intentionally or unintentionally violate any applicable local, state, national, or international law,
~




~

            3    including, but not limited to, any regulations having the force of law.

            4    H) Customer agrees to use the Services only for lawful purposes.
            5 The Full "Aurea Email Marketing: Terms of Use for Saas" from which A-Hare derived, is shown
            6
                 below, on next page, [with highlights] for reference:
            7
            8
            9
           10

           11                                                (continued next page)
           12
           13
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            1                                                             CONTACT US (HTTPS://CONTENT.AUREA.COM/CONTACT"US-FORM)             F:NG!.ISH •

0

            2                                                                                                                             Customer
                                                      Software Library v        Support & Services ..,       Meet Aurea v
~

            3         IAu~ea
                      (http_~,;f/www.a urea. co ml)
                                                                                                                                            Login



                                                      Resources v
            4
            5                     Aurea Email Marketing: Terms of
            6                             Use for Saas
            7
            8
                              Tl1ese Terms of Use for Saas apply to and are incorporated by reference into the ordering document (the
            9                 "Quote") made by and between the Service Provider (as identified on the Quote) and the Customer (as
                              identified on the Quote). Capitalized terms used but not defined herein have the me.:ming given to them in
           10
                              the Saas Terms and Conditions or the Quote. If there nre any conflicts or inconsistencies between a specific

           11                 term or condition of these Terms of Use and a specific term or condition of the Saas Terms and Conditions,
                              the specific term or condition of these Terms of Use will controL Service Provider may, from time to time
           12                 modify these Terms of Use by posting the revised Terms of Use to Service Provider's site_ Service Provider
                              will give sixty (60) days prior notice of any material changes. Customer's use of the Service5 following any
           13                 modification will be deemed to be Customer's acceptance of any such modification.


           14                  1. Activation and Use of the Services.
                                  1. Account Access. On or before the Term Start Date, Service Provider s/1all provide Customer with an
           15                       account name and a password that will allow access to the Services. Customer shall be responsible
                                    for any and al! activities conducted through its account, whether or not such activities have been
           16                       authorized by Customer.
                                  2. Registration Information. Upon Service Provider's request, Customer shall provide Service Provider
           17                       with ao:urate and complete reglstratlon Information with respect to Customer's use of_the Services
                                    (including the identity, email addresse_s, and passwords of Customer's authorized hosted list
           18                       administrators) and promptly update such information <ls changes occur.
                                  3. Content. Customer acknowledges that Service Provider is not responsible for and does not give any
           19                       assurance to any person with respect to the validity, value, usefulness, or accurncy of ilny Content.
                                    Customer and any person using t!1e Services solely and exclusively bears any risk t;ssociated with
           20
                                    Content.

           21                     4_ Lawful Use. Customer agrees to use t!1e Services only for lawful purposes. Customer agrees that
                                    Service Provider (ln its sole discretion} rnny monitor any and all aspects of the Services for the
           22                       purpose of auditing compliance with the Saas Terms and applicable Quote, Customer will inform its
                                    users Uwt their use of the Se1vices will consti!ute consent to such monitoring. If Customer or any of its
           23                        users restricts or inhibits any other customer or user of the Services, ihen Service Provider may, in its
                                    sole reasonable discretion, terminate or suspend tt1e right of Customer or Customer's user to use the
           24                        Services.
                                  5, Customer Responsibilities. Custorner shc1ll be responsible for any fallme to achieve volume or othc
           25                        commitments {us set forth in a Quote) that results from Customer's fDHure to comply with these Terms

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            1                     of Use and/or Service Provider's exercise of any remedy available to Service Provide1 for sucil failure,
~                                 Customer will not be (':ntitled to any refund, credit, or other relief for Services that are not provided
0

            2                     due to Service Provider·'s exercise of any remedy available to Service Provider.
~                              G. ISP Relations. Customer shall work with Service Provider, at Service Provider's request, to maintain
            3                     relationships wlth Internet seivice providers (each, an "ISP"). Customer further acknowledges that
                                  Service Provider may be required by an ISP or other third party to impose additional or modified
            4                     consent procedures wltll respect to Customer's email campaigns. Customer sha!I IJe responsible for
                                  handling customer service ;;md abuse complaints related to Customer's email campaigns, including
            5                     without limitation processing unsubscribe requests.
                               7. Service Provider Right to Monitor. Service Provider !1as the right to periodically monitor and/or
            6
                                  review Customer's compliance wit11 these Terms of Use.

            7                2. Hosted Email Marketing Services. The following terms and conditions apply to Customer's use of
                               Service Provider's hosted email marketing-related Services;
            8                   t Prohibited Activities. Customer sha!! not employ any practices with respect to its emaf! address lists
                                  that (in Service Provider's sole dlscretion) may increase the risk of ISP filtering, blacklisting, or
            9                     blocking, or otherwise may negatively Impact Service Provider's reputation with ISPs. Without limiting
                                  the foregoing, examples of prohibited activities include: sending messages to email addresses that
           10                     have been purchased; sending messages to email addresses that have been harvested or scraped
                                  from sources on the Internet; sending messages to email addresses collected by third parties;
           11                     sending messages for the first time to email addresses collected more than 3 years prior; sending
                                  messages to lists with an unusually !ow response rate; or attempting to manipulate or avoid ISP filters
           12                     or reputation systems, Customer may not use the Services for a one-time rnamng to a list of members
                                  after which Customer deletes substantially all of the membership and creates a new list Customer's
           13
                                  membership must be a static, permanent list to which Customer adds or deletes new members and/or
                                  members subscrlbe or unsubscribe themselves in the ordinary course.
           14
                               2. Spamming Prohibited; Truth in Advertising. Customer may not use the Services to send unsoHcitf:d

           15                     email, whether it be commercial or non-commercial, and/or commercial email containing any
                                  deceptive, unsubstantlated, or unfair marketing claim (collectivc~ly, "Sparn"). Customer's emall will be
           16                     considered unsolicited if Customer's membership addresses are not 100% opt-in by Customer's
                                  members. If Customer's enrn!! addresses came from harvesting, a purchased email list, another
           17                     maillng list (even with the arr)foval of the other list owner or Service Provider), or are compiled by any
                                  rnet!1od other than by direct subscription from Customer's members, then all messages sent to such
           18                     addresses will be considered Spam under these Terms of Use. In addition, Customer's email will be
                                  considered Spam if it: (i) contains one or more deceptive or unsubstantiated claims regardlng
           19                     products or services; and/or {il) furthers, constitutes, or consists of an unfair business practice.
                                  Customer sl1all be solely responsible for tl1e substcintiation of any and all claims made in all messages
           20
                                  transmitted via the Se1vices using Customer's account.
                                3. Spamming Complaints. If Service Provider receives complaints that Customer has transmitted and/or
           21
                                  continues to transmit Spam, in addition to any other rights that Service Provider may have undor the
                                  SaaS Terms, Quote or under upplicnb!e law, Service Provider may at its sole option suspend
           22
                                  Customer's use of the Services pending a reconfirmation of Customer's entire membership list. This
           23                     reconfirmatlon may be required by Service Provider ln any reasonable manner it determines in Its sole
                                  judgment lnduding, without limit, sending a single email to all of Customer's list members requesting
           24                     confirmation of their wish to maintain U1eir subscription to such list. Members who do not reconfirm
                                  within a reasonable time establislled by Service Provider may be deleted from the list in question.
           25                     Service Provider tigrees to use commercially reasonable effo11s to contact Customer's designated list


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             1                    administrator by emai! or phone before suspending Customer's use of a Services. Customer's consent
                                  will be requested before Service Provider contacts Customer's list members for the purposes of
~            2                    reconfirmation, however, if Customer does not consent to such reconfirmat!on, then Service Providc-:r

00
                                  may immediately and without further notice to Custorner terminate the applicable Quote.
             3                  4. Service Provider Remedies. If Service Provider determines in good faitl1 that Customer has
                                  transmitted and/or continues to transmit Spam, in addition to exercising any ott1er of its rights under
             4                    the SaaS Terms, applicable Quote and applicable state Of' federal !aw, Se1vice Provider will issue a
                                  one-time warning to Customer's primary contact's email address to cease such activity, after which if
             5
                                  Spam transmission continues: (i) Service Provider may bring an action in any court of competent
                                  jurisdiction to enjoin such activity, it being understood that such activity may cause irreparable harm to
             6
                                  Service Provider which may not be fully compensable by monetary damages, and (ii) Service Provider

             7                    may recover from Customer monetary losses caused to Service Provider by such activity in an amount
                                  equal to the greater of (a) $500 for each such item of unsolicited email that Customer has sent to
             8                    each separate and identifiable e-rnail address (which amount t!1e parties agree is a fair and
                                  reasonable estimate of Service Provider's losses suffered thereby and is not a penalty) or (b) Service
             9                    Provldor's actual rnonetary loss, including, but not limited to, any darnage, loss or expense (including
                                  reasonable attorney's fees) resu!ting from any third party claim made against Service Provider as a
            10                    result of Customer's conduct in violation of this provision, In addition to the foregoing, Customer is
                                  responsible for reasonable costs inwrred by Service Provider in bringing such actions, including Its
            11                    reasonable attorney's fees.
                                5. Other Unacceptable Uses. Addltional!y, Customer may not use the Services to:
            12                     1. Send email with an Invalid "From:" or "Reply-to:" address. All messages posted to Customer's list
                                     must contain valid erm1il addresses that accurately reflect the sender's identity and Customer must
            13
                                     be responsive to all replies from members of Customer's list, includlng unsubscribe requests.

            14                       Customer nmy not refuse or ignore unsubscribe requests from members of Customer's list.
                                  2, Harass; U1reate11; embarrass, or cause distress, unwanted attention, or discomfort to a person or
            15                       entity.
                                  3. Post or transmit sexually explicit imnges or other Content that ls deemed by Service Provider to be
            16                       offensive.
                                  4. Transmit any unlawful, harmful, threatening, abusive, harassing, defamatory, vulgar, obscene, or
            17                       hateful content or content that is racially, ethnica!1y, or otherwise objectionable, or that infringes
                                     upon the right$ of any third party, as determined by Service Provider.
            18                    5_ Impersonate any person, including, but not limited to, an official of Service Provider or an
                                     information provider, or communicate under a false namt:~ or a name that Customer is not entitled
            19                       or authorized to use.
                                  6. Intentionally or unintentionally violate any appBcab!e local, state, national, or international law,
            20
                                     including, but not limited to, any regulations having the force of !aw.
                                  7. Transmit any virus, malicious code, or anything destructive to a recipient's computer.
            21
                                  8. Exceed any volurne limitations included in the applicable Quote,

            22                  6. Membership Confirmation. Any email sent to new members confirming membership on Customer's
                                  list may not lndude advertising or calls-to·action ot!1er than an appeal to confir111 the member's
            23                    subscription.
                                7. Unsubscribing. AH list messages must Include unsubscribe instructions in the body or footer of tf1e
            24                    message, so that members can unsubscribe themselves from the !ist, List owners must respond to
                                  member requests for manual removal from tile list promptly, but in no event more than 10 days afH)r
            25                    tile member's first request. Customer shall not discard email rnessages from members asking to be

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            1                        removed from Customer's list. Even if the user request for removal ls aggressive, unfriendly, or
w
                                     otheiwise rude, Customer should nonetheless make every attempt to help the user unsubscribe from
0

            2                        Customer's list and resolve the situation.

~
                                  8. Suspension of Services. Service Provider has the ri~Jht lo suspend pertormnnce of its Services
            3                        described in a Quote in the event that Customer's bounce rate, unsubscribe rate, and/or number of
                                     recipient complaints are at a rate tllat is beyond the levels acceptable to an 1SP through which
            4                        Customer's list is deployed, for any Customer use of the Se1vices that Service Provider reasonably
                                     determines is in violation of these Terms of Use or is necessary to avoid damage to Se1vice Provider
            5                        's systems, reputation, or business. Following any such suspension, the Services shall not be
                                     reinstated until Service Provider is reasonably satisfied that the activities resulting in such suspension
            6
                                     have been cured or shall cease. If Customer fails to so cure such activities within 30 days following

            7                        the suspension, Se1vlce Provider has the right to immediately terminate the applicable Quote upon
                                     written notice to Customer.
            8
                              Updated: February 1, 2016.

            9

           10
                                                                                            Products
           11
                                                                                            Unlimited (https://www.aurea.com/unlimited/)

           12                                                                               Product Catalog (https://www.aurea.com/tlbrary/)


           13          Aurea helps global businesses accelerate digital
                                                                                            Customers

                       transformation with a software library that creates                  Worx (https://community.aures.com/)
           14           unparalleled value and unlimited possibility.                       Support Resources (https://www.aurea.com/support/)

           15                                                                                     ompany
                                           GET IN TOUCH
                             (HTTPS://CONTENT.AUREA.COM/CONTACT-US-
                                                                                            I!About Aurea (https://www.aurea.com/about··aurea/)
           16                                 FORM)                                         I,,
                       ~ - - - - - - - - - - - - - - - - - - - - - - - ' _ L e a d e r s h i p (l1ttps://www.aurea.com/about-aurea/our•
                                                                                            leadership/)
           17
                                                                                            Blog (/blog~
           18                                                                               in {https://www.linkedin.com/company/aurea-software/)
                                                                                            't# (https://twitter.com/AureaSoftware)
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                        ·,:90:n Au1ea, Inc. I Aurea is an ESW Capital Group (http://www.eswcapitaf.com/)    Legal (/legnll)
           21           company                                                                                 Privacy (/legal/privacy-statement/)


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                 20. Paragraph's 16-19 intend to establish that the email marketing platforms of Aurea and Keap
            1
~
                were used without the permission to send the KetoSoup UCE's complained of in this litigation.
            2
~
                 This next paragraph intends to demonstrate that all of the UCE advertisements contain at least one
            3
                 domain name that is owned by Aurea OR Keap. The relevance of this is explained in section
            4
                 "Relevance to South Dakota Cause of Action" which comes later in this complaint. Whether or not
            5
                 visible in the screenshots of the UCE's included in this complaint, each KetoSoup UCE (except one
            6    of them) contains
            7    one-or- more domains belonging to Keap OR Aurea, depending on which of the two company's
            8    platforms were used (abused) to send that particular UCE. Some-or-all of the "clickable links" in

            9    the UCE's are not URL's (domains) belonging to Flex Marketing Group,, or even to the true

           10    landing page that the UCE takes the recipient to once they click on the link. Rather, these links
           11    belong to Aurea OR Keap and "redirect" elsewhere, to redirecting domains which generally are no

           12    longer valid or functional. However, what is important herein is which domains are used in the
           13    clickable links (which belong to Aurea OR Keap respectively.) The following is a non-exhaustive
           14    list of all the links/domains in the "main clickable part" of the email advertisements, sorted by

           15    which company they belong to:
           16

           17    Domains belonging to Keap contained in the UCE's

           18    l1ttps://cu939.infusion-links.com/api/vl/click/6236804627169280/5204545628405760

           19    https://ge972.keap-link003.com/api/v l/cl ick/4 794965638381568/5158501028855808
           20    https ://ge9 72 .keap-1 in k00 5. com/ api/v 1/cli ck/61l5530005413888/51585010288 55808
           21
                 11ltps://cu939.infusion-links.com/api/v1/click/5710535661584384/5204545628405760
           22
                 so on and so fourth.
           23
                 Domains belonging to Aurea contained in the UCE's
           24

           25    http://www.elabs6.com/c.hJJ11I?

           26    ufl':5&rtr=on&s=7 cn9g,2wc0z,ccrb,gncf, 7yxg, 7qrb,2ub4&EM A IL ADD RESS=ketosoup97@gmai

           27    I.com
           28
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             http://www.uptilt.com/c.html?
         1
             ufl-6&rtr=on&s=lmzp.2r7tw.5o9t.cltub.clps7.9ib2.icjc\&EMAIL ADDRESS=ketosoup97(ivgmail.c
        2
        3    om

        4    http://www.uptilt.com/c.html?
        5    ufl-7 &rtr-on&.s-lmzp.2r835.5mvg.lsbv. 7pgn.abrp.iyxi&EMAIL ADDRESS-ketosoup97@gmail.
        6
             com
         7
             !illri://www.e1.abs6.com/c.html?
         8
             ufl=5&rtr=on&s=7cn9g.2wcr3.ccrb.hyx4.czbc.7qrb.2ub4&EMAIL ADDRESS-ketosoup97@gmai,
         9
       10    L_com

       11

       12    so on and so fourth ...
       13

       14
             21. Of all the links listed in paragraph 20, we only have a handful of domain names which repeat in
       15
             a pattern throughout the UCE's. Those domains are:
       16
             A. For Aurea: infusion-links.com, keap-li.nk005.com, keap-link003.com,
       17
       18    B. For Keap: elabs6.com, uptilt.com

       19    22. The domains which were listed as links in 20, and sorted into unique "domains" in 21, can be

       20    demonstrated as belonging to "Keap" OR "Aurea" through publicly available whois data as follows:
       21

        22
             23a. infusion-links.corn:
        23

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                                                              52
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                   ~ DOMAINTOOLS
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            3       Domain Name: inft1sion-lii1ks.com
                    R0gistry Domain ID: 2489247613 DOMAIN COM-VRSN
            4       Registrar WHOIS Server: whois.~arkmo1,itor.com
                    Reqistrar URL;        http://wNv,,.rn,3rkmr:,nito1-,com
                    Updated Date: 2022-01-86T09:40:02+8080
            5       c,-0ation Date: 2020-02-06Tl9:26:37 ➔ ·0000
                    ::~~!~~:~:R~~::~~~}~~~.f~~~~atio;1 Date: 2824-02 06T08:0B:00+0000
            6       Registrar JANA ID: 292
                    Re 9 i st r a r Abu ~:sc contact Email : 21bus5;1complaints@rnml'\rnonito1scorn
            7       Reqistrar Ab1Jse Corltact Phone: ~1.2883895778
                    Doi11a1 n Stu tus; cl i (~n t Upd;:,t0P roh ib i ted {http:..: J /1:Jh'W. i Ctlnn. org/ i:,pp#cl ientUp·diJteP rohi.bi t
            8
                    Domain Status:     cl:i.entT r-ans'f(orProhibitcd { https: //1.rtwvt . .i.c-;:,nn, 01·9/i'.'pp#clic:ntTransfc:rProh
                    tbited)
            9       Doma1 n St at us : client Di:-: li:: teP roh il)itHI { http5; / /wwv:. :i cann, or g/ epp#( l i.r~ntne t0t1:P r{>hibi t

           10       Reoist,·an1 Organizatio11: Inf11si01l Software
                    Re~ist,·ant State/P1·ovi11ce: AZ
                    Regist,·ar,t Count1·v: US
           11       Reoisti·arit Email:.Select Request Email Form at
                    ht-fps;// dOih':ri n:s. ma rkmoni tor. i::om/l':ho is/ inf llS ion~ tin I'; s, ,:om
           12       Admi11 or·ga1liZatio11: Infusio,1 Software
                    Admin State/Prov1nce: AZ
                    Adnl]ll COU!ltry: us
           13       Admin En1~il: _Select, Req\1est Email Form al
                    http'.; : / / no111;n ns, ma rKmo nit or, com/whoi s/ inf us i 011 - 1 inks, corn
                    Teet, o,·ga11izatio11: I11f11s101l Software
           14       Tecl1 St2te/Provi11ce: AZ
                    T.:cch (ountr·y:. US
           15       Tt':Ch E1n2il:    Scl,:ct ReQU10S1      Email Form t,t
                     l1ttps://domains.ma1·km~1,ito1·.com/whois/int11s1011 links.com
           16       ::~: ~:~::~: ~::~~~::~.:t:i~~gt:~~~:f~!:~~:
                    Name Server: ns clot1d a4.googleclamaj_ns.com
           17       Name Scr·ver. 11s cloud-a3,googledomains.com
                    Of'lSSEC:   uns.i9ned
                    URL of tl1e ICANN WHOIS 02ta l)ro!,\em Repoi·tinq Syst~m: l1ttp://wdµ1·s.i11ternic.net/
           18
                     For more information 011 W}tOIS status codes, please visit:
           19          httJJs://www.1ca1111.o1·g;1·esources/r0qe;/epp status codes

           20                        c01Gpa111es a111i co,1s11mers i11 a digital wot·lrl.

                    Visit Ma:·kMor1ito1· at http                     n?irkn":.onitoc.coVi
           21       Contact us ;.ii     ·d, BOG7:l592
                     In: Europe,
           22

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           25
                 23b. keap-link005.com
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           28
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                                                                           COMPLAINT
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                    ' ~ DOMAINTOOLS
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'"           3       Dom,nn tL::+m0;        k0ap- linkGOS
                     Registry       111 ID: 2584404098_DOMAIN COM-VRSN
             4       Reg1str·a1· WHOIS S01·ver                    1tor.co:11
                                       http: //H'<,1h', rkn,onitor. com
                                             2021-0l-15T17:46:32+8000
             5                                2021-01- 1.2T23:54:36+0000
                                                                    ratio11 Date: 2023-01 12T23:54:36+0000
             6
                                                     292
                                       Abuse Czintac\: Eir,ail:          abu.s-ec.omp!aints@markmonitor.com
             7
                     Regist1·a1· Ablrse Co11tact Phone:   ,2083895770
                     Domtnn Statu~,: cl ientUpdatc,p    ibit   (l1ttps://www. icann.                                           t0Prcd1ibi.t
             8       0d)
                     Domain Status· c1.ientTrar1:c.f1;;rProhibi.ted (https://wwv;
             9       :ibited)
                                                                                                                       ie11t00leteProhib1t
            10       H09istTFini O               z,;t ion: Keao
                             st,·a,it State/Provi11ce: A~·izona
                                          Count rv · us
            11             tra,1t Email:-Sel0ct Request Email Form '1t
                           ://domai11s.ma1·kmo11itoi·.com/whoi   -link005.com
            12              O     12ation: Keap
                     Adwin       e/Province: Arizoila
                            Country: US
            13       Admi11 Email Select Request Email Form at
                     lit   ://domains.markno111tor.com/whois/     li11k005.com
            14                Or9a11i2:.c1tion. !\s::'<'<P
                     Tech State/Pi·ovioce: A1·izo11a
                     1ecn Cou11t1·y US
            15       Tech E11:ail: Select Req11est Ema
                     !1ttps://<ioni11 .ma,·kmo,iitor·.                                   - l i nkco:,. (om
            16       Name Ser.. V(-.,r:     ns-clzwd--e:l.
                     Nz.me Se r-ve r:           cloud--el.
                              Sec·ver·          (loud--<~<+.
            17               Se1·vl:~t:         (loud--e?.
                     DN:::-SEC: un
                     UHL of the                  WHOIS Oat          Probl      R.epoi-t.1.nq System· http://'.1dprs.
            18
                     F(f!    DO((-;   J.f"!i°'(ijffidtion on WHOIS st;it      s cndt'S, plea~-€' v1:.1t:
            19            htt ps: ; /vrl'i\,'. i c,:wn. o r·q/ n:sul re e'J       s/epp-stat11s-co0es
                     M⇒     kMon.i.i:01    Domain
            20       Protecrir1g comp1nies                                                  tal 'Fiorld.

            21                                                  ://www.       r·kmo11i    r.com
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                 23d. Keap-link003.com
            1
~           2     -~ DOMAIN TOOLS                                                                                                               Q

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            3
                  Whois Record i b'..d upd:d.ui- .Jn 2022-03 ·29)

            4
                    Domain Name: keap l1nk003.com
                    Regist1·y □ om~in JD: 2584401101 DOMAIN (OM-VRSN
            5       Regislra,· WHOIS Server wl1ois.ma,·kmor,itor.com
                    Registrar· URL: http://www.markmo111to1·.com
            6       Updated D2te: 2021-01 14123:22.29~0000
                    Creatio11 Date: 202l-81-12T2l:54:36+0000
                    Regi5lrar Registration Expiratio11 Date. 2023 01 l2T23:54:36+0000
            7       Registrar: MarkM011itor·, I1ic.
                    R1~gi s tra r fAN/l. ro: 292
            8       P,c,gistrar f'~buse Contact Em;+i l:                  atiusecomplaints@markmonitor.i:x;m
                    Registrar· Abuse Co11tact Phone: +l.2083895770
            9       Domain ::_;tatu'.:~: cl it:ntUp;;fatePcohi.bi tecl ( https. //wvrvt, icann, org/epp#c lientUpd.:itePnJhibit
                    ed !
                    Dom;:1 in Stat tis: cl ·j e11 t.T rdins f i:: rP roh.~.b i ted ( ht tps : //VIWN. icann. o rq / (?pp#c l .tf:ntTr ::ins i' t'.: r Proh
           10       i.bi ted l
                    Domain 5 tat us: cl j_ c,ntDt' let s:P rohi bit ed (ht tµs: / /www. ic;inn. or g/ ~'P[J#c l i ewlD0 lc, teP rohibi t
           11       cd}
                    Reqistrant 01·ga11izatio11: Keap
                    Registrant State/Province: Ar·izona
           12       Registrant Country: US
                    Regi~trar1t Email: Select R0ql1est Email Form at
           13       https://domai11s.markmonitor.com/whois/keap lir1k00J.com
                    Adm1n Organi.zatiort: Keap
                    Admin Stare/P1·ovince: Arizona
           14       i\dmin (m1ntry:          u:-;
                    Admi11 Email: S0lect Reqt1est Email Form at
           15       httus://domai,1s.ma1·kmo11ito1·.com/wl1ois/keap-li11k803.com
                    Tech Organization: Keap
                    Tech State/P1-ov111ce: Arizona
           16       T1':ch Z:ount 1·y:      US
                    Teel, En1ail · Select Reqt1est Email Form at
                    ht tps. //domains, . ma rkmon i tor , c nm/v,;110 is/ ke,;.:;µ - l i nk003. ;,,:om
           17       Name Ser·ver: ns cloud d3.googiedomains.com
                            Serve-1·: ns-cloud d2.qoo9ledornJ1ns.corn
           18       Name Se1·ve1·:            -clol1d-d4.googledor1a11ls.com.
                    N;:Hti:: Scrvc,r: ,,~,-cloud-dl.9oogl€domains,com.
           19       ONSSEC: unsiqnEd
                    URL of the ICANN WliOIS Data P1·oblem Reportit1g Syste~: http://wdp1·s.j_nte1·111c.11et/

           20       Fo1· 701·0 ir1for·rnatio11 on WHOIS stat11s codes. please visit:
                       ht t ps ; //\,i'\•i\~, i c ar1 n. o rg/ 1·c1 :::ot, f' c i>s / pz,9e s ! cpp - !; tat us• rodes
           21       M~•kMonitor Doma111 Man~gernent(TM)
                    P1·ot0:ting compa1110s and co11su~ers i11 a digital world.
           22
                              MarkMo itoi           ,:~T hi:tp::;://w;-11.,i.mar!,,rnon:i.t(lr.com
                    tor,   j(t    tlS   a   ➔ l.8607459229
           23       ln     Ul"Of.'{',   a   ,.4,;:. 020320622.?0

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                                                                                   COMPLAINT
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                 23e. Elabs6.com
            1
w

8           2      •{;) DOMAINTOOLS                    PROF!l.£""    C0Nt4ECY.,,      MONlTOf~ .,,   SUPPORT     (l


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            3
            4
                    Domain N,1m,:::,:      c•\.abs6. com
                    Registry Do1nain ID: 197939889 DOMAIN __ COM VRSN
            5       Regist,·ar WHOIS se,·ver: wh01S.Q<li1di.net
                    l{egistrac URL: htt'p://h'W\'J,gandi.. net
            6       Updated Date: 2021-87 14119:29:122
                    Creation Date: 2005-08-lBTIS:10:052
                    Rt;qis t ra r- Registration Expiration Date! 2022-08-18T17:10:05Z
            7       Re(1:l.st r2 r  GMJDJ SAS
                    Registra,· !ANA IO: BJ
            8       Registrat·· Abus1:,i Contact Email:                 atJUse@support.gandi.net
                    Reqistrar Ab11se Contact Pho11e: T33.17037766l
                    Rei",c,l (er: Amazon Re9i.strar,             Inc.
            9       Domai11 Stat11s: clientTransferPr·al1ibited http:;/www.1c211n.org/epp#clientTra11sferProl1ib
                    i.ted
           10       Dom,::!J.n Sta tu~-:
                    Domain Status.:
                    Domain Status.:
           11       Domain Sta tu:~:
                    Registry Registrant ID: REDACTED FOR PRIVACY
           12       Registra!1t Name: REDACTED FOR PRIVACY
                    Registrant Organization: Aurea Softwai·~
                    Rc~Jistrant Stn-:1::,t; 63 65 boulevard Mas~;c,n;:;
           13       Registrant City: Parit
                    Reqistrant           State/Province: Paris
           14       Re6istrarit          Postal Code: 75013
                    Re~istrant           Couiitry: FR
                    Registr·arit         Pllo11e: +33.170377666
           15       Regisrra11t          Phorte Ext:
                    Registra11t          Fax: •33.143730576
           16       Registrant           Fax Ext:
                    R~qi:; tr ant Em2.i_ l:        4fab1dS81J890fcl679beOf438efe45c904209521@contac.tgandi.net

           17       Regi$try Admi11 ID: REDACTED FOR PRIVACY
                    Admi11 Name: REDACTED FOR PRIVACY
                    Admin 01·gani~atio11; Au1·e~ Softwar·e
           18       Admi11 Street: 63-65 boulevard Massena
                    Afimin City: Paris
                    Admi11 State/Pr·ovince: Paris
           19       1\dff11n Po'.;t:,l
                                  Code:             75013
                    /Vh!nn Country: FH
           20        Admin P!1one: +33.170377666
                    /H.!rnJ n     PhorH:> Ext:
                    !.\d:n)n      Fax; +33, JAJ"73:{}5-76
           21       r. . dm.1n    f'.ax Ext:
                    Ai:lm:i. 17   Ema i. l : 4fabl dS&!>890fa679beOf438efe45-c90-4209521@contact.gandi.net
           22       Registr·y Teel, ID: REDACTEO FOR PRIVACY
                    re~ll NamG. REDAC'fED FOR PRIVACY
           23       ;:~:~ ~~f:~~;a!;~z; ~~:f:v:~: ~:::ena
                     Tc<h C ty; Pari:.;
                                                                 1


           24        Tech State/Province: Paris
                     Tnch Po~:.tal Code: 7'::01:1
           25        Tech Country; FR


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                 23f. Uptilt.com
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            2           DOMAINTOOLS                          PROFILE"'            ECT ...-    MONITOR,,       SUPPORT



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                  VVhois Record i'.
            4
                           i.n N.:,1rn0: uptilt.com
            5              str·y Domain ID.               11070489                  COM"\iRSN
                           str·~,- WHO               Se1·ve1     wl1ois.          .net
                                                 ht p://h'\<i'.d,
            6                                   202} ··Cl9-02.T1
                                                 1999 10·07T05·:3H
            7       R1:?:flis    rar'           st      ion Expirat                          2022-10 07T07:30:042
                    R12:1istrar              S,!tS
                            t ra r IAN/.., ID: fJ:1
            8       REfJis c,:;; Abu5,e cont.Jc~ t Einai l: abu~e@support.ga0dLnet
                    Reg t         , Ab1.1se contact P!1one: +33. 7837766
            9       R10r,(:1lhc:,r. Amazon Registrar, Inc
                    Domain Stdtu~;; c ientTnrnsfc,rPtohib ted http://\~"?JH.i.cann o
                    j_ t
           10       Domain Statu:::.:
                    Dom::;in Status:
           11       DomzLi.n :)tatus:
                    0 ,:.nr,td n St at u 5, :
                    Registry Registrant ID REDACTED FOR PRIVACY
           12            trant Name· REDACTED FOR PRIVACY
                                t:rant O              zati           Auret1 ::i-oftwa
           13                   t   t Str·eet: 63 65 bot1levard Masse11a
                                trant C.i. : f'-::iris
                                trant Sta    PrGvince: Par
           14                            Po::,tal Code: 7501:-:.
                                        Country           FF:
           15                            Phone:·~33.170377666
                    Regist1·ant Pl1one Ext:
                    Regist1·ant Fax: +33.143730576
           16              str:::'int    F<ix
                    Rt: Qi st rant Ema 1 l              cea0a56bdf6>:c099d847859a9cf5076f-4002323@c-ontactgandi.net
           17               ry Admi11 ID: REDACTED FOR PRIVACY
                    Arimi11 Name: REDACTED FOR PRIVACY
           18       Admin Orga111za ion: Aurea Software
                    Admi1; Street: 63 65 boulevai·d Massona
                    Admin
           19       Adrnin
                    Adm:in
           20       /".dm in                     FR
                    Admi11      : ➔ ·33. 170377666
                    /\dnin Phone Lxt:
           21       /\dnd n r2x:         1·3..3. 14:':730'.576

                                            c~-aoa !56-bclffif:-c999d 84 785 9a9tt50 76f~4 002 323@contactga nd i .net
           22
                                             TED FOH PRIVACY
                    Tech N~me REDACTED FOR PRIVACY
           23          ,~ Organizatio11· A11
                    Tc(h '_;t ,-c:cc,t
           24       rcch c i.          Pa        s
                    Tech St;_,          /Province-·       r:·;-;rj
                    Tech PO'.)\Jii Cod,;.0 ;           75013
           25       T1:ch (ountt'y; Ff\

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                 24. While the Keap-associated domai.ns do not currently have much of a website-appearance, the
            1
                 Aurea-associated domains uptilt.corn and elabs6.com have webpages associated with Lyris Inc
            2

            3    (owned by Aurea), as follows:

            4    elabs6.com webpage:
            5

            6

            7

            8                                     You have reached an Emai!Labs web server (elabs6.com).

            9

           10

           11                                     Ly11s empowers yuu lo conned with cuuomcrs ,i.nd a,i;rwtvc true H01. w,!ll yow
                                                  dwiu, o( 011-pic-:rmscs or 111•!lH:>c!Gud email rncuhctmu ~.olut1011'.> • Lyl!s I K), l.yn:, l.M.
           12                                     and fuil scrnic0 hnd support


           13
                                                  FmaiH..::lbS cweo about yow pnvw:y :; you led :,imfvc· 1ecei,,1c(f a m('::oS;',(;)e 1HJm our
                                                  scrvc1s v,ifr1v.1t your pcnnic,sion. p!e<:'lSl~ loPNUd it (o £ili11i2.-0f:lab,~6.crWJ
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                                                                     (continued next page)
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           28    uptilt.com webpage:
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                                                                              COMPLAINT
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            3                                 You hm1& n:ac:hecl an Emai!Labs web s1:rver (uptrltcon:1),

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                                              Lyris Erna£! MmkMing
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           21                                                        (continued next page)

           22
           23
           24
           25
                 25. Even the few UCE's which do not contain a domain from Keap OR lnfusionsoft as the "main
           26
                 clickable link" in the UCE. .. such UCE's still contain one-or-more domains from Keap OR
           27
           28
                                                                            59
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                 Infusionsoft within the UCE, and depend on such domains for the proper display and functionality
            1
w
0

            2    of the spam.

            3    Relevance to Sonth Dakota Canse of Action - General Overview

            4    26.    SDCL 37-24-47 "Prohibited commercial e-mail advertisements" states:

            5    No person may advertise in a commercial e-mail advertisement either sent from South Dakota or to

            6    a South Dakota electronic mail address under any of the following circumstances:
            7    (1)   The e-mail advertisement contains or is accompanied by a third-party's domain name
            8
                 withont the permission of the third party;
            9
                 (2)   The e-mail advertisement contains or is accompanied by falsified, misrepresented, or
           lO
                 forged header information;
           11

           12    (3)   The e-mail advertisement has a subject line that a person knows would be li.kely to mislead a

           13    recipient, acting reasonably under the circumstances, about a material fact regarding the contents or

           14    subject matter of the message.
           15    Relevance to Sonth Dakota Cause of Action - "third-party's domain name without the
           16
                 permission of the third party; Explained in Detail"
           17
                 27. For the Hammer UCE's: All but 3 of the Hammer UCE's contains a so-called 'shortened
           18
                 link' from tinyurl.com in its main "call to action" button in the body of the email advertisement,
           19

           20    such as l1ttps://tinyurl,\;9m/lliloo0qpg6bjtr37b/rb13sqjrmo.html?

           21    od=lsyi60982b01a0lld vi Active9vl 0ya4.d1rx4c.C0000rgk81i15ku008 xl 1234.gk8liMGkyZ2k

           22    2LTEwMDk4MjIOp49bd, or https://tinyurl.com/lliloo0qpg6bjtr37b/preqmo5hz3.htrnl?
           23
                 ocl=lsyi60982b0la011d vi Active9vl 0ya4.cllrx4c.C0000rgjm8a0r9n00a xll234.gjm8aMGkyZ2
           24
                 k2LTBwbDcyMTO0r5cljf.
           25
                 Tinyurl.com shortened links are created by and governed by TinyUrl LLC, a South Dakota Limited
           26
                 Liability Company. It has a "Terms of Use" agreement for its TinyUrl's, which is available here:
           27

           28    https ://ti nyurl. com/ app/terrns
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             TinyUrl's TOS clearly prohibit the use of the services in conjunction with UCE in the following
        1

        2    sections:

        3    2(b)(iii)User Representation and Warranties By using the Services, you agree to: (3)Not access,

        4    store, distribute or transmit any viruses, codes or any other material when using the Services that:

        5      a) is unlawful, harmful, threatening, defamatory, obscene, infringing, harassing or racially or
        6
             ethnically offensive;
        7
               b) promotes or facilitates illegal activity;
        8
               g) is for the purpose of tracking spam-related material.
        9

       10    As such, TinyUrl LLC's domain was used in the Hammer UCE's without the permission of the

       11    third party [TinyUrl LLC]

       12    28. For the KetoSoup UCE's: Third party's domain names are used without permission of the
       13
             third party in ALL these UCE's . This is because:
       14
             A) All of the UCE's are alleged to have been sent through Aurea OR Keap, as thoroughly
       15
             described earlier in this complaint.
       16
             B) Further, the use of Aurea OR Keap's services in the sending of these UCE's, in any way, shape,
       17
       18    or form, is an overwhelming breach ... multiple breaches ... of the senders' contract with those

       19    companies, as thoroughly discussed above in this complaint. The sending of these UCE's through

       20    these platforms constitutes an overuse of those company's permission to utilize their services, as the
       21
             sending of emails of this nature, under these circumstances,is strictly and expressly prohibited in
       22
             extremely and abundantly clear terms.
       23
             C) The use of Aurea OR Keap's services, including their domain names, which are contained in
       24
             and material to the functioning of the UCE's, considering the point made above in B, AND
       25
       26    considering the proof-of-ownership of the domains contained in the UCE's as demonstrated earlier

       27    in this complaint, and the analysis of when/where/how the use of their services in this way are
       28    prohibited pursuant to their TOS, it is clear that the "email advertisement(s) [the UCE's] contain or
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             is accompanied by a third-party's domain name(s) [Aurea, Keap] without the permission of the third
        1

        2 party [Aurea, Keap].
        3    Relevance to South Dakota Cause of Action - "Contains Or Is Accompanied By Falsified,

        4    Misrepresented, Or Forged Header Information; Explained in Detail"
        5    29. Each and every UCE [Hammer UCE's, KetoSoup UCE's] violates SDCL 37-24-47(2) for the
        6
             following reasons:
        7
             A:     For The Hammer UCE's:                 All of these UCE's have falsified headers because the 'from
        8
             domains' in all these UCE's are untraceable to the sender by a whois search, with whois data for the
        9

       10    Hammer UCE's shown in paragraph 12. Additionally, all but 8 of these UCE's have a TO: line of

       11    'thehebrewhammerjosh@gmail.com_mod' Since these UCE's were received at

       12    thehebrewhamme1josh@gmail.com, not at 'thehebrewhammerjosh@gmail.com mod', it is a
       13
             material falsity and misrepresentation to say it was received TO:
       14
             'thehebrewhamme1josh@gmail.com mod. Plaintiff has no such email address, and has never heard
       15
             of 'gmail.com_mod' nor does he even understand why it benefits the ("Initiator") or ("Advertiser")
       16
             to falsely add "_mod" to the recipient's email address in the 'TO' line of the header.
       17

       18    B: For the ketosoup UCE's: The 'from domain' is one of Flex Marketing's untraceable domains,

       19    for which the untraceable whois data is pasted in Paragraph 15. Untraceable domain names suggest

       20    a materially falsified header in the 9' h circuit (Greenberg V Digital Media Solutions). Considering
       21
             that SDCL 37-24-41, 37-24-47, and 37-24-48 are virtually "copy and paste" from California's Spam
       22
             Law (Business and Professions Code 17529.5), and California is within the 9th circuit, the CA Spam
       23
             Law findings are extremely relevant to this SD Anti-Spam Law case and should be recognized.
       24
             After all, SD Anti-Spam law has very little case-law of any kind, but the near-identical CA Anti-
       25

       26    Spam Law has seen plenty of litigation. Pursuant to the findings of Greenberg V Digital Media

       27    Solutions, the untraceable "sending domains" constitute a materially forged header and thus violate

       28    the non-preempted portion of state spam law ... and fnrther that ("Advertisers") are strictly liable for
                                                                     62
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             that untraceable 'from domain' even if such untraceable domain is the work of the ("Sender")/
        1

        2
             ("Initiator"). The whois data for all of the 'from domains' of the ketosoup UCE's are shown in

        3    Paragraph 15.

        4    30. Not a single UCE, including any of the Hammer UCE's, or the KetoSoup UCE's, does not have
        5    at LEAST one violation of SDCL 37-24-47, as described above, even if not directly "spelled out."
        6
             A majority of these UCE's violate both 37-24-47(1) AND 37-24-47(2).
        7
        8    $1000 Liquidated Damages Awarded PER EMAIL in violation, not $1000 PER VIOLATION

        9    31. Pursuant to 37-24-48(2), "Liquidated damages of one thousand dollars for each unsolicited

       10    commercial e-mail advertisement transmitted in violation of such section, up to one mill.ion dollars
       11
             per incident.", each email which violates SDCL 37-24-47(1) AND/OR SDCL 37-24-47(2)
       12
             AND/OR SDCL 37-24-47(3) shall constitute an additional $1000 awarded to the recipient.
       13
             Therefore, it is irrelevant to establish which specific UCE's contain which violations under 1,2 from
       14

       15    37-24-47, rather that each email contains at MINIMUM one such violation upon which relief can be

       16    granted. This burden of proof has been accomplished in this complaint, overwhelmingly so, and in

       17    tremendous detail in this lengthy and well-supported complaint.
       18    Plaintiff's South Dakota Spam Law Claims are Not Preempted by the CAN-SPAM Act of
       19
             2003.
       20
             32. In contrast to what opposing counsel regularly argues to Plaintiff, South Dakota's Anti-Spam
       21
             law is not preempted by the CAN-SPAM Act. SD Anti-Spam law is nearly-identical to California's
       22

       23    Business and Professions Code 17529.5 ("CA Anti-Spam Law"), and cases under CA Anti-Spam

       24    law, on similar grounds, are routinely with merit, and often prevail. See Balsam V Trancos. More

       25    recently, in late 2021, a Federal Judge in the Southern District of Florida, in Plaintiff's own case
       26
             Lapin V Apptness Media Group LLC, ruled that SD Anti-Spam law is not preempted by Federal
       27
             Law, as seen from the honor's opinion: [on next page].
       28
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            1
~           2
                                    l"hc Court first considers whether it may cxct·c!sc f'cd1.:ral qtH:stion jurisdiction O\'Cr this

w                           case_ Dckndaut asserts that fr'.dcral question jurisdiction cxists because Plaintiffs single claim
            3
                            tmda the SD Anti-Spam Law. SJ). Codified I .m\·s ~~ :17-24--12 thrnugh 3 7-24-,rn. ''i:-: cornpkti.:1)
            4
                            pr..:cmpll'd" by the Controlling thi: Assault oL<on-Solicitcd Pornography and fvtarki.:ting ,r\ct ('·:he
            5
                            CA:\ SPAM
            6
                            SP;\1vf /\cl docs not coE1plc1cly pt'l'cmpt Plai1niff's state law claim bcc;iusc P!aintiffha.s no fcdl'.r:1!
            7

            8
                                    Th1i SD Anti-Spam LnL the srntc statute at i:ssue in this case, pn.\vidcs in rckvant part:
            9
                                    No pnson may ;.H_h'crtisl' in a commercial l:-rnail ndven1scmcnt either sent from
                                    Sol1!h fhkotn nr Sl;nt t() a Snuth D,1kota ekc\ronic mail addtc-ss undl.'.r any nf the
           10                       followirn~ circumstances: .. (3) Thl: ,:.-mali adv-.Ttts,:rncnt has a s;1bjt:d tlnc tlrnl a
                                    pc-rson k·;1ltWS would be likely to niisk·ad a n:cipi,:nt, acting rt:asonably under lhc
           11                       cirl:urnst,mc-:<', ahou1 a makTial fact r1;garding 1hc conh.'nh or subject matter of the
                                    message.
           12
                            SJ). Codified Laws~ 37-24A7.
           13
                                    Th(' CAN SPA\1 acl ha:-- .-m L"Xpr,.;ss preemption clausi.: that providi.:s as foltnws:
           14
                                    This chapter supersedes any :;ratutc, regulation, or rule ,-1r S:atc . . tin\ l..'Xpr;.;s:-dy
           15                       1\;gulatts the us\.' of c\cc1ronic rn:lil to send commercial nwssag.cs, t'XCcpt w th..:
                                    c:,.'icnt that any sach statut..:, rcgulntion. or ru!L" prohibits falsi;_y or dcct."'.ption in any
           16                       portinn of a Cimm1crcial eil'Ctronic rnail message or information attached hi.:rdo,

           17
                 33. The court will note that the Federal Judge who issued this opinion analyzed the same part of SD
           18
                 Anti-Spam law that is material to this complaint, and which gives rise to this suit. Further, let us
           19
                 take a closer look at CAN-SPAM's express preemption clause:
           20

           21     This Act supersedes any statute, regulation, or rule of a State or political subdivision of a State that

           22       expressly regulates the use of electronic mail to send commercial messages, except to the extent

           23           that any such statute, regulation, or rule prohibits falsity or deception in any portion of a
           24
                                   commercial electronic mail message or information attached thereto.
           25
                 Throughout the complaint, claims of falsity and deception have been alleged, and any portions of
           26
                 emails which violate potentially-preempted parts of the section have been left out of this complaint.
           27

           28
                                                                               64
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             The recipient email addresses (thehebrewhammerjosh@gmail.com, and
        1
             ketosoup97(a>gmail.com are both "South Dakota electronic Mail Address[es]"
        2

        3
             34. The email addresses in which the UCE's were received, are email addresses that are "furnished
        4
             to the Plaintiff". Plaintiff, at all times material, was-and-is a legal resident of the State of South
        5

        6
             Dakota. (Paragraph 2). SDCL 37-24-41(14) defines a "South Dakota Electronic Mail Address" as

        7    follows:

        8    "South Dakota electronic mail address" or "South Dakota e-mai.l address," any of the following:
        9
                         (a)        An e-mail address furnished by an electronic mail service provider that sends bills
       10                            for furnishing and maintaining that e-mail address to a mailing address in this
                                     state;
       11
                         (b)        An e-mail address ordinarily accessed from a computer located in this state; or
       12                (c)        An e-mail address furnished to a resident of this state;

       13    Therefore, these email address, are and were at all times material, South Dakota electronic mail

       14    address[es]       as     defined   under 37-24-41(14)(C) because      [they are]    "An e-mail     address
       15
             [ketosoup97@gmail.com] + [thehebrewhammerjosh@gmail.com] furnished to a resident of this
       16
             state [Plaintiff Joshua Lapin]".
       17
             CarShield / AAS are strictly liable for UCE's they did not send
       18
             35. Since CarShield, and AAS advertised in UCE's sent by Flex Marketing LLC, and John Doe
       19

       20    Sender, the co-advertisers would be considered ("Advertiser") as defined by 37-24-41(1):

       21    (1)   "Advertiser," a person or entity that advertises through the use of commercial e-mail

       22    advertisements;
       23
             37-24-48 prescribes $1000 liquidated damages per email in breach, for those who violate, among
       24
             other sections, "37-24-47":
       25
             37-24-47 holds("Advertisers") strictly liable for the statutory damages by name: [important parts
       26

       27    balded]

       28
                                                                   65
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                 3'7-24-47. Prohibited commercial e-mail advertisements.
            1
~
                        No person may advertise in a commercial e-mail advertisement either sent from South
            2
                 Dakota or sent to a South Dakota electronic mail address under any of the following
~

            3    circumstances:
                     (1) The e-mail advertisement contains or is accompanied by a third-party's domain name
            4              without the permission of the third party;
                     (2) The e-mail advertisement contains or is accompanied by falsified, misrepresented, or
            5              forged header information;
            6        (3) The e-mail advertisement has a subject line that a person knows would be likely to mislead
                           a recipient, acting reasonably under the circumstances, about a material fact regarding the
            7              contents or subject matter of the message.

            8        Therefore, relief against ("Advertiser") CarShield / AAS can be granted for each UCE
                           complained of.
            9

           10     Flex Marketing Group LLC and John Doe Sender , are vicariously liable for UCE's They

           11    Send on Behalf of Their Advertisers, including CarShield / AAS.

           12    36. Flex Marketing Group LLC and John Doe Sender are ("Initiator[s]") of these UCE's as defined
           13    in SDCL 37-24-41(8): "Initiate," "to transmit or cause to be transmitted a commercial e-mail
           14
                 advertisement or assist in the transmission of a commercial e-mail advertisement by providing
           15
                 electronic mail addresses where the advertisement may be sent, but does not include the routine
           16
                 transmission of the advertisement through the network or system of a telecommunications utility or
           17

           18    an electronic mail service provider through its network or system," FLEX and DOE transmitted

           19    these UCE's through the use-and-abuse of the Keap and Aurea's email marketing platforms. While

           20    FLEX and DOE are NOT considered ("Advertiser[s]"), they can still be held liable under a classic
           21
                 aidi.ng and abetting theory: They sent and "caused to be transmitted" the illegal emails in which
           22
                 CarShield / AAS are alleged to have illegally Advertised within. "But not for" Flex and Does' roles
           23
                 in causing the transmittal of these spams, the tort for the UCE's would not have been committed,
           24
                 thus our ("Initiators"), Flex and DOE, shall be held jointly and severally liable for the damage for
           25

           26    their respective UCE's. Flex and DOE also chose to "register by proxy" and/or falsely register

           27    various domains names which they use to send mass UCE, and also to leave the WHOIS data
           28
                                                                  66
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             inaccurate in some cases, and "by proxy" in others, therefore "covering their tracks" and remaining
        1

        2 unidentifiable.
        3    Prayer For Relief

        4    37. Plaintiff prays that the court grant relief against Defendants for their roles in this Unsolicited

        5    Commercial Email complaint, as described throughout this complaint, by entering judgment as
        6
             follows:
        7
             NRRM, LLC dba CarShield: $1000 statutory liquidated damages, for its role in ("Advertising") in
        8
             ALL the UCE's, pursuant to 37-24-48(2), X 57 separate UCE's = $57,000, in addition to the
        9

       10    reasonable costs associated with filing and maintaining this action, and for service of process,

       11    jointly and severally.

       12    American Auto Shield, LLC ("AAS"): $1000 statntory liqnidated damages, for its role in
       13
             ("Advertising") in ALL the UCE's, pursuant to 37-24-48(2), X 57 separate UCE's = $57,000, in
       14
             addition to the reasonable costs associated with filing and maintaining this action, and for service of
       15
             process, jointly and severally.
       16
       17

       18    Flex Marketing Group LLC: $1000 statutory liquidated damages for its role in sending, or

       19    ("Initiating") the KetoSoup UCE's, pursuant to 37-24-48(2), X 34 KetoSoup UCE's = $34,000, in

       20    addition to the reasonable costs associated with filing and maintaining this action, and for service of
       21
             process, jointly and severally.
       22
       23
             John Doe Sender: $1000 statutory li.quidated damages for its role in sending, or ("Initiating") the
       24

       25    Hammer UCE's, pursuant to 37-24-48(2), X 23 Hammer UCE's = $23,000, in addition to the

       26    reasonable costs associated with filing and maintaining this action, and for service of process,

       27    jointly and severally.
       28
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                 Jurisdiction
            1
~




            2       -Personal Jurisdiction

~

            3    38_ This court has personal (general) jurisdiction over American Auto Shield, LLC because it is a

            4    limited liability company with its principal place of business within the forum in Lakewood, CO.
            5

            6
                 39. This court has personal (specific) jurisdiction over NRRM, LLC dba CarShield because while it
            7
                 is a Missouri Limited Liability Company, it is plausibly and strongly alleged to have a relevant
            8
                 contractual relationship with American Auto Shield AAS, is alleged to have "Co-Advertised" in
            9

           10    these UCE's on behalf of itself and AAS, to the mutual benefit of both entities, and the cause of

           11    "action arises out of" AND is "related to" NRRM, LLC's marketing contract(s) with AAS, and

           12    AAS is at home in the forum, and thus the exercise of personal specific jurisdiction is reasonable.
           13
                 Pursuant to the Colorado Long-arm statute, codified at Colo. Rev. Stat.§ 13-1-124; NRRM, LLC
           14
                 dba CarShield is alleged to meet the criteria for the exercise of out-of state personal specific
           15
                 jurisdiction pursuant to the following subsections of the Jong-arm statute:
           16
                 13-1-124(1)(0) The transaction of any business within this state; Marking & Selling Vehicle
           17

           18    Insurance Contracts which are administered by in-forum Defendant AAS

           19    13-1-124(1)(b) The commission of a tortious act within this state; while South Dakota Jaw shall

           20    apply in this case, for which the choice of Jaw arguments are made later in this complaint, these
           21
                 UCE's would also be recognized as a tort action in the state of Colorado, as Colorado has enacted
           22
                 similar legislation which protects Colorado's residents and internet service providers from such
           23
                 UCE's, codified at 6-1-702.5, Colorado's "SPAM REDUCTION ACT OF 2008_"
           24

           25    Further, the exercise of personal specific jurisdiction "conforms with due process," nor does it

           26    "offend the traditiona I notion of fair play and substantial justice," as they should have "reasonably

           27    expected to be sued in this court," due to their relationship with the forum-Defendant ("Advertiser")
           28    NRRM LLC dba CarShield. Next, the "exercise of jurisdiction over [the] defendant," is even more
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                 reasonable, and even less burdensome, than in years past. .. as Virtual/Zoom/Telephonic Court is
            1
0                now available, and with leave of the court, most (likely all) physical in-person appearances,
            2
~
~
            3    hearings, and even depositions, can be conducted virtually or telephonically, (not including the trial

            4    itself). As plaintiff travels full-time, and is in a different country every 30 days, and is writing this

            5    complaint from Bali, Indonesia, he intends to request such leave, and would encourage the Missouri
            6
                 and New York defendants to request the same if it would lessen the burden on them. Thus, in post-
            7
                 pandemic America, it has never been easier, more cost effective, convenient, or less burdensome, to
            8
                 be hauled into an out-of-state court from the comfort of your own home or office! Next, this court
            9

           10    should also give substantial weight to judicial efficiency; it would be infeasible to have "duplicate"

           11    cases in different state courts, in Missouri AND Colorado AND New York, all of which are in

           12    different circuits, and all of which could have contradictory outcomes, pertaining to the same events
           13
                 giving rise to the cause of action, needlessly increasing the time, hassle, expense, and prejudice
           14
                 from this litigation for all parties. But not for the non-KetoSoup UCE's, which do not involve Flex,
           15
                 this suit (respectfully) would have been filed in a Missouri state court which has personal general
           16
                 jurisdiction over CarShield, or in a New York state court which has personal general jurisdiction
           17

           18    over Flex. But since the Hammer UCE's, do NOT involve Flex, and the KetoSoup UCE's do NOT

           19    involve DOE, but they ALL advertise American Auto Shield's Vehicle Service contracts, justice

           20    would best be served for Plaintiff to file in the 1st Judicial District in its Golden, CO location, which
           21
                 has personal general jurisdiction over AAS, [who is associated with ALL UCE's] and personal
           22
                 specific jurisdiction over the alleged co-advertiser, co-tortfeasor CarShield, as well as personal
           23
                 specific jurisdiction over both ("Initiator") defendants for similar reasons.
           24

           25

           26    40. This court has personal specific jurisdiction over Flex Marketing Group LLC for the same

           27    reasons as described in paragraph 39.

           28
                                                                     69
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             41. This court has personal specific jurisdiction over John Doe Sender for the same reasons as
        1
             described in paragraph 39.
        2

        3    Subject Matter Jurisdiction (Choice-of-law Should Be South Dakota)

        4    42. For matters pertaining to restrictions on Unsolicited Commercial Electronic Mail and for

        5    matters pertaining to the statute of limitations for "Penalty or Forfeiture", this court should find that
        6
             South Dakota law applies. In other words, the South Dakotan cause-of-action should apply, it
        7
             should be recognized, be granted full-faith-and-credit, and shall apply in this Colorado Forum.
        8
             Even if the court finds that a one year statute of limitations applies in this case [for reasons
        9

       10    unforeseeable to the plaintiff at the time of filing), then this case still was timely filed as the date of

       11    filing is prior to the receipt of the first UCE, albeit by the skin of its teeth.

       12    43. Vis-a-vis recognizing and enforcing the South Dakotan cause of action in this forum, this court
       13
             is anticipated by Plaintiff to turn to Colorado's choice-of-law rules. As such, the Colorado Supreme
       14
             Court adheres to the Restatement (Second) of Torts, and therefore naturally the "Most
       15
             Significant Relationship Test" will determine if South Dakota laws pertaining to unsolicited
       16

       17    commercial electronic mail shall apply. Upon performing a choice-of-law analysis under

       18    the "most significant relationship test", this court should find that the laws of South Dakota
       19
             apply, at least for matters of unsoli.cited commercial electronic mail and its associated
       20
             statute of limitations, for the following reasons:
       21
       22    44. The plaintiff, at all times material to the complaint, is and was a resident of South Dakota with

       23    a legal residential address, drivers license, and voter registration in Sioux Falls, South Dakota.
       24
             The "cause of action" occurred in the state of South Dakota. This holds true despite the fact that
       25
             plaintiff was present physical1y outside of the State of South Dakota at most times material, as he is
       26
             a full-time traveling "digital nomad," because the tort being committed is NOT [directly) "Plaintiff
       27

       28
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                   receiving the spam emails", rather the tort/ cause of action that is being committed is "Spam emails
              1
'ei                were sent TO a South Dakota electronic mail address" as written into the cause of action:
              2
ge
              3                      SDCL 37-24-47 "Prohibited commercial e-mail advertisements" states:

              4
                   No person may advertise in a commercial e-mail advertisement either sent from South Dakota or to
              5
                             a South Dakota electronic mail address under any of the following circumstances:
              6

              7    Therefore, when this court determines WHERE this cause of action occurred, vis-a-vis the "place of

              8    the wrong" it should consider that the two South Dakota email addresses in this complaint are

              9    granted their status as a South Dakota electronic mail address under the ("Definitions") of the
             10
                   cause-of-action specifically 37-24-14(14)(C): "An e-mail address furnished to a resident of this
             11
                   state;". For greater context, here is the relevant part of 37-24-14 pasted:
             12

             13
                   "South Dakota electronic mail address" or "Sonth Dakota e-mail address," any of the following:
             14

             15                (a)    An e-mail address furnished by an electronic mail service provider that sends bills
             16
                                       for furnishing and maintaining that e-mail address to a mailing address in this
                                       state;
             17                (b)    An e-mail address ordinarily accessed from a computer located in this state; or
                               (c)    An e-mail address furnished to a resident of this state;
             18

             19

             20

             21

             22
                   And that particular resident (Plaintiff Joshua Lapin), is a legal resident of Sioux Falls, South
             23

             24    Dakota:

             25

             26

             27

             28
                                                                       71
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            1
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0                                                                                                     Plaintiff presents
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            3                                                                                         the following

            4                                                                                         exhibits on his

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                                                                                                      own free will, and
            6
                                                                                                      therefore is not
            7
                                                                                                      violating his own
            8
                                                                                                     privacy rights:
            9

           10    And therefore, the only place where spam emails sent to these "South Dakota electronic mail

           11    addresses" .. .is South Dakota, and South Dakota has a valid and respectable interest in protecting its

           12    own residents from receiving unlawful unsolicited commercial emails.
           13

           14
                 45. Secondly, the Defendant's domiciles of New York and Missouri have no bearing on the fact
           15
                 that it was a South Dakota resident who incurred the statutory "wrong" or "harm". CarShield and
           16
                 AAS's Vehicle Service Contracts are available in South Dakota and to South Dakota residents, and
           17

           18    those same products were advertised in all of the UCE's. Most importantly, the Defendants had no

           19    preexisting relationship with the Plaintiff prior to the tort, and as such, the relationship between the

           20    parties is entirely centered around the tort which occurred in South Dakota.
           21

           22
                 46. As to Flex and DOE, its NY domicile has little-to-no-bearing on the laws of the states' whose
           23
                 residents received its many, many spam emails under its many, many untraceable domain names
           24
                 ("Flex Domains") [or 'Hammer Domains' for DOE], and as such has no bearing on the remedies
           25

           26    available to the recipients of these spams, which are granted to them under their state's laws, as they

           27    have no private right of action under Federal Law (CAN-SPAM Act of 2003.)
           28
                                                                  72
                                                               COMPLAJNT
     Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 74 of 174
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             47. Just because the defendants may not be subject to the personal jurisdiction of the courts of
        1
        2    South Dakota, does NOT mean they can legally violate its laws without consequence; this choice-

        3    of-law analysis shall remedy South Dakota's *possible* lack of personal jurisdiction over
        4
             the Defendants needed to enforce its own laws, by finding that South Dakota law applies in
        5
             this forum. In other words ... "if we cannot drag the defendants to South Dakota... we shall
        6

        7    drag South Dakota Law to them." -Plaintiff Joshua Lapin

        8    If Court Lacks Personal OR Subject Matter Jurisdiction, Dismissal Should Be WITHOUT
        9    prejudice
       10

       11
             48. Plaintiff would not agree this court lacks personal or subject matter jurisdiction, but if this court
       12
             disagrees, then such a dismissal should be one "without prejudice", as such a dismissal would not
       13

       14    be a merits determination, rather it would be an "admission" from the court that it cannot hear this

       15    matter, and as such, the plaintiff should not be barred from re-filing this suit elsewhere ... as that

       16    would be an adjudication of the merits of the complaint.
       17      Subject Matter Jurisdiction
       18
             49. This Colorado District Court has subject matter jurisdiction because the amount in controversy
       19
             of $53,000 exceeds $25,000, exclusive jurisdiction of this tort action is not given exclusive
       20
             jurisdiction to another court (as best known to plaintiff), and one of the "main defendants" is at
       21
       22    home in the forum.

       23

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                                                            COMPLAINT
     Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 75 of 174
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             Venue
        1
             50. The 1" judicial district of Colorado - in its Golden, CO location, is the proper venue because
        2

        3    the only in-state defendant, American Auto Shield LLC, is headquartered in Lakewood, CO, and is

        4    subject to its personal general jurisdiction.
        5

        6
             Pro-Se Plaintiff,
        7
               Joshua Lapin
        8
              ~ ooc,s;,,., by:

        9

       10
                ~~::AO~~~
               5/3/2022
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       12                                   *EXHIBITS A-B FOLLOW SIGNATURE*
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                                                                74
                                                             COMPLAINT
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                              EXHIBIT

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       ~I Grnail                                                                               Joshua Lapin <thehebrewhammerjosh(tl,igmail.com>



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 •carShield Offer• <cu7Ghl1C7VOvlD07kW7@fcre.tristphas.com>                                                               Fri, May 28, 2021 at 4:59 AM
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 :c: thehebrewharnmerjosh@fcre.tristphas.com




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                                                                                                      Joshua Lapin ~thehebrewhamrnerjosh@gmail.com>



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                                                                                                 Joshua Lapin <thehebrewhamrnerjosll((i)gmail.co1n>



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lubject: Your budget can count on this coverage
'ram: CarShield USA <delivered@emails-jobsdelivered.com>
ro: ketosoup97@gmail.com
late Sent: Mon, 12 Jul 2021 13:13:26 -0400 (EDT)
)ate Received: Mon, 12 Jul 2021 10:13:28 -0700 (PDT)



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    Sign Envelope ID: 837E4B1 C-5F38-4201-8F21-B4154C478907



    )ubject: A service plan you can believe in
    'rom: CarShieldUSA <info@jobsdeliver.com>
    ro: ketosoup97@gmail.com
    )ate Sent: Thu, 8 Jul 2021 09:32:25 -0400 (EDT)
    )ate Received: Thu, 8 Jul 2021 06:32:27 -0700 (PDT)
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)ubject: Your budget can count on this coverage
=ram: CarShield USA <delivered@emails-jobsdelivered.com>
ro: ketosoup97@gmail.com
)ate Sent: Wed, 7 Jul 2021 16:49:21 -0400 (EDT)
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)ubject: Your budget can count on this coverage
'ram: CarShield USA <delivered@emails-jobsdelivered.com>
ro: ketosoup97@gmail.com
)ate Sent: Tue, 6 Jul 2021 19:31:02 -0400 (EDT)
)ate Received: Tue, 6 Jul 2021 16:31 :05 -0700 (PDT)




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lubject: Protection you can trust
'rom: CarShield <newsletter@rumorfox.com>
ro: Joshua Lapin <ketosoup97@gmail.com>
)ate Sent: Sat, 3 Jul 2021 19:05:37 -0400
)ate Received: Sat, 3 Jul 2021 16:09:47 -0700 (PDT)



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lubject: Your budget can count on this coverage
'rom: CarShield USA <delivered@emails-jobsdelivered.com>
ro: ketosoup97@gmail.com
)ate Sent: Wed, 30 Jun 2021 22:29:00 -0400 (EDT)
)ate Received: Wed, 30 Jun 2021 19:29:02 -0700 (PDT)




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)ubject: A vehicle protection plan you can count on
=ram: CarShield USA <info@jobsdeliver.com>
ra: ketosoup97@gmail.com
)ate Sent: Wed, 30 Jun 2021 14:35:10 -0400 (EDT)
)ate Received: Wed, 30 Jun 2021 11:35:12 -0700 (PDT)




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Subject: 1 Minute Of Your Time Could Save You Up To 30% On Potential Car Repairs
'ram: CarShield USA <updates@expectcarecare.com>
fo: ketosoup97@gmail.com
late Sent: Wed, 30 Jun 2021 10:15:53 -0700
)ate Received: Wed, 30 Jun 2021 10:38:23 -0700 (PDT)




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=rom: CarShield USA <updates@nationalsurveysonline.com>
ro: ketosoup97@gmail.com
)ate Sent: Tue, 29 Jun 2021 05:34:36 -0700
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)object: Protection you can trust
=rom:_ CarShield <newsletter@rumorfox.com>
ro: Joshua Lapin <ketosoup97@gmail.com>
)ate Sent: Mon, 28 Jun 2021 17:21:13 -0400
)ate Received: Mon, 28 Jun 2021 14:28:05 -0700 (PDT)


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)ubject: Your budget can count on this coverage
'rom: CarShield USA <delivered@emails-jobsdelivered.com>
ro: ketosoup97@gmail.com
)ate Sent: Mon, 28 Jun 2021 13:55:00 -0400 (EDT)
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    ,ubject: 24-Hour Roadside Assistance! Protect Your Car Today!
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    ro: ketosoup97@gmail.com
    )ate Sent: Sun, 27 Jun 2021 23:14:09 -0700
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        Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 150 of 174
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,ubject: Can't Afford Auto Breakdown Protection? Now You Can!
'ram: CarShieldQuote <contact@dzlosurverys.com>
ra: ketosoup97@gmail.com
)ate Sent: Sat, 26 Jun 2021 01 :51 :42 -0700
)ate Received: Sat, 26 Jun 2021 01 :57:51 -0700 (PDT)




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    Case No. 1:22-cv-01543-SKC Document 1-1 filed 06/21/22 USDC Colorado pg 152 of 174
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,ubject: CarShield Free Quote
=rom: CarShieldUSA <contact@entirelybelieve.com>
ro: ketosoup97@gmail.com
)ate Sent: Fri, 25 Jun 2021 18:39:22 -0700
)ate Received: Fri, 25 Jun 2021 18:48:00 -0700 (PDT)




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                           nationwldo                         vehicle service contracts administered by American Auto Shiefd,
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)ubject: Your budget can count on this coverage
'ram: CarShield USA <delivered@emails-jobsdelivered.com>
ra: ketosoup97@gmail.com
)ate Sent: Thu, 24 Jun 2021 12:26:23 -0400 (EDT)
)ate Received: Thu, 24 Jun 2021 09:26:27 -0700 (PDT)




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                        Tax Return On Auto
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                        Before They Happen,
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                        Auto Protection Cornpany, Car:;hlnid.




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lubject: An Auto Protection Plan will protect you from costly auto repairs.
'ram: CarShield USA <info@jobsdeliver.com>
ro: ketosoup97@gmail.com
)ate Sent: Wed, 23 Jun 2021 08:33:35 -0400 (EDT)
)ate Received: Wed, 23 Jun 2021 05:33:37 -0700 (POT)




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,ubject: Can't Afford Auto Breakdown Protection? Now You Can!
'ram: CarShield USA <updates@expectcarecare.com>
ra: ketosoup97@gmail.com
)ate Sent: Wed, 23 Jun 2021 04:06:32 -0700
)ale Received: Wed, 23 Jun 2021 04:37:13 -0700 (PDT)



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,ubject: 24-Hour Roadside Assistance! Protect Your Car Today!
=ram: CarShie!d USA <updates@nationalsurveysonline.com>
ro: ketosoup97@gmail.com
)ate Sent: Tue, 22 Jun 2021 01 :09:46 -0700
)ate Received: Tue, 22 Jun 2021 01 :13:34 -0700 (PDT)




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,ubject: Protection you can trust
=rom: CarShield <newsletter@rumorfox.com>
ro: Joshua Lapin <ketosoup97@gmail.com>
)ate Sent: Mon, 21 Jun 2021 21 :51 :51 -0400
)ate Received: Mon, 21 Jun 2021 18:59:53 -0700 (PDT)


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,ubject: An Auto Protection Plan Will Protect You From Costly Auto Repairs.
'rom: CarShield USA <contact@nationalshoppersurvey.com>
fo: ketosoup97@gmail.com
)ate Sent: Sun, 20 Jun 2021 23:13:40 -0700
late Received: Sun, 20 Jun 2021 23:14:40 -0700 (PDT)
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,ubject: Your budget can count on this coverage
'rom: CarShield USA <delivered@emails-jobsdelivered.com>
fo: ketosoup97@gmail.com
)ate Sent: Sun, 20 Jun 2021 22:26:10 -0400 (EDT)
)ate Received: Sun, 20 Jun 2021 19:26:12 -0700 (PDT)




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,ubject: Can't Afford Auto Breakdown Protection? Now You Can!
=rom: CarShieldQuote <contact@dzlosurverys.com>
ro: ketosoup97@gmail.com
)ate Sent: Sat, 19 Jun 2021 05:54:30 -0700
)ate Received: Sat, 19 Jun 2021 06:00:33 -0700 (PDT)




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lubject: CarShield Free Quote
'rom: CarShieldUSA <contact@entirelybelieve.com>
ro: ketosoup97@gmail.com
)ate Sent: Fri, 18 Jun 2021 20:42:51 -0700
)ate Received: Fri, 18 Jun 2021 20:51 :41 -0700 (PDT)




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,ubject: Protection you can trust
=rom: CarShie!d <newsletter@rumorfox.com>
ro: Joshua Lapin <ketosoup97@gmail.com>
)ate Sent: Wed, 16 Jun 2021 18:56:54 -0400
)ate Received: Wed, 16 Jun 2021 16:12:43 -0700 (PDT)


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)ate Sent: Wed, 16 Jun 2021 04:07:52 -0700
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'rom: CarShield USA <delivered@emails-jobsdelivered.com>
ro: ketosoup97@gmail.com
)ate Sent: Wed, 16 Jun 2021 05:19:52 -0400 (EDT)
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'rom: CarShield USA <updates@nationalsurveysonline.com>
ro: ketosoup97@gmail.com
)ateSent:Tue, 15Jun2021 01:11:30-0700
)ate Received: Tue, 15 Jun 2021 01 :49:45 -0700 (PDT)




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,ubject: 24-Hour Roadside Assistance! Protect Your Car Today!
'rom: CarShield USA <contact@nationalshoppersurvey.com>
fo: ketosoup97@gmail.com
)ate Sent: Sun, 13 Jun 2021 23:19:54-0700
)ate Received: Sun, 13 Jun 2021 23:29:17 -0700 (PDT)
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